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164862002 20212300820205               , 312812002.41112002,                    4/30/20020651- Hospice/Routine                          HomeCare                   s 3 , 4 7 43 0    $ 3 , 4 7 43 0                30,                        30
16487,2002,2021        2300820205      i 3128/2002 4/1/2OO24/3012002,0657                                - Hospice/Physician                 Services                 $22107           $221.O7                      1                          1
16488 2002 20212300820205              i 312812002 41112Q02.                    413012002t0001           -TotalCharges                                             s 3 , 6 9 53 7    $3.695.37                     31'                        31
164892002 20215600644205               ., 312812002.51112002,                   5/31/20020651- Hospice/Routine                          HomeCare                   $ 3 , 5 9 01 1                                  31,                        31
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164932002 20221701           112105 312812002 71112002 713112002'0651- Hospice/Routine Home Care                                                                   $ 3 , 5 9 01 1     $3.590.1                     31i                        31
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1 6 4 9 52 0 0 22 0 2 2 4 8 0 1 4 4 9 0 035t 2 B l 2 O O 2 . 8 l 1 ] 2 O O Z 8 / 3 1 / 2 0 0 2 1 0 6 5 1, H o s p i c e / R J u t i n eH o m e C a r e             $ 3 , 5 9 01 1     $ 3 , s 9 01 1                3'l i                     31
164962002,20224801449005                  3 t 2 8 t 2 o 0 2 , 8 t 1 t 2 0 0 2 t 8 1 3 1 1 2 0 0 2 , 0 0 0-1T o t a l C h a r g e s                                 $ 3 , 5 9 01 1     s 3 , 5 9 01 1                31                        31
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165022002 20233901081              305 3 1 2 8 1 2 0 0. 2 1 1 1 1 1 2 0 0 2 , 1 1 / 3 0 / 2 0 0 2 i 0 6 5- 1H o s p i c e / R o u t i n eH o m e C a r e           $ 3 , 5 6 28 0     $ 3 ,s 6 2 . 8 0              30                        30
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165052002 203{J0600999505                  3128/2002 121112A02                 1 2 t 3 1 t 2 O 4 20 0 0 1 T o t a l C h a r a e s                                  5 3 , 6 8 15 6     $ 3 , 6 8 15 6                 31                       31
1 6 5 0 62 0 0 32 0 3 0 3 7 0 1 0 5 4 6 035l 2 B l 2 O O 2 1 1 1 t 2 O O 31 / 3 1 / 2 0 0 30 6 5 1 ' H o s o i c e / R o u t i n eH o m e C a r e                  s 3 , 6 8 15 6     $ 3 . 6 8 1s 6                 JI                       31
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 1 6 5 4 52 0 0 4 20421904824405 3t28t?002 7 t1t2004                                               , 7/31/2004         0001- T o t a l C h a r g e s                              $3,761.54          $ 3 , 7 6 15 4      0
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3 2 3 6 4 2 t J 0 4 2 0 4 1 5 5 0 0 9 1 0 5 0 53/31/2003 5t1t2004 5/31/2004                                            0651- H o s p i c e / R o u t i n eH o m e C a r e         s 3 , 7 6 15 4     $ 3 , 7 6 15 4     31    31
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:t2371 2004 2 0 4 2 510 0 4 8 6 8 0 5 3/31/2003 8t1t2004 8/31/2004                                               0001- T o t a l C h a r g e s                                  s 3 , 7 6 15 4       $3.761.54             0
3 2 3 7 2 2 0 0 4 20428101779505 3t31t2Q03                                         gtlt2oo4 9/30/2004            0651- H o s p i c e / R o u t i n eH o m e C a r e             $ 3 , 6 4 02 0       s3,640.20            30
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32373 2004 20428101779505 3/31/2003 9t1120049/30/2004                                                            0001- T o t a l C h a r g e s                                  $ 3 , 6 4 02 0 ,     $3,640.20             0
4 1 4 5 | 2 0 0 I 2 0 13 3 3 0 0 7 6 7 6 0 5 't0/3'l/2001 tot31t200110/31/2001,0651                                      - H o s p i c e / R o u t i n el l o r n e C a r e                                                'l
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41452',2001            2 0 13 3 3 0 0 7 6 7 6 0 5 10 / 3 1 / 2 0 0 1           10t3112001        10/31/2001      0001- T o t a l C h a r g e s                                     $ 11 5 8 1           $ 11 5 . 8 1       1
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4 1 4 5 4 2 0 0 1 2 0 13 4 6 0 0 5 8 3 2 0 5 10131/200111t1t20011'l130i2001                                      0657- H o s p l c e / P h y s r c r aSne r v r c e s                $95.8ir              $95 85           1           ,|
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4 1 4 r J S2 O O 12 013 4 6 0 0 5 8 3 2 0 5 10131t200111t11200111/30/2001                                        0001- T o t a l C h a r g e s                                  $ 3 , 5 7 01 5       $3,570.1       5     31      31
4 1 4 5 6 . 2 0 0 1 2 0 2 0 0 4 0 0 7 6 0 3 0 5 10131t20011 2 t t12 0 Q 11 2 1 3 1 / 2 0 0 6                        1 5 1- H o s p i c e / R o u t i n eH o m e C a r e         $ 3 , 5 9 01 1       $ 3 , 5 9 01 1       31      31
41457 2001 2 0 2 0 0 4 0 0 7 6 0 3 0 5 10t31t200112t1t20O1,                                       12/31/2001             -                                                                           $ 3 , 5 9 01 1               31
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41458 2002 2 0 2 0 3 6 0 0 9217 0 5 10/31/2001                                     1t1120021/31/2002             0651- H o s p i c e / R o u t i n el - 1 o m eC a r e          $3,s90.11            $3,590. 1            JI      31
41459 2002 2 0 2 0 3 6 0 0 912 7 0 5 10/31/2001 1tlt2002 1/31/2002                                               0001- T o t a l C h a r g e s                                  $ 3 , 5 9 01 1       $ 3 , 5 9 01 1       ?t      31
41460 2002 2020i 408465704 10t31t2001 2t112002 2t28t20020651- H o s p i c e / R o u t i n e' r l o m eC a r e                                                                   $ 3 , 2 4 26 8       s 3 , 2 4 26 8       2B      28
4 1 4 6 1 2 0 0 2 20207408465704 10/31/2001 2r1t2002 2t28120020657 - H o s p r c e / P h y s i c i aS                                                        r re r v r c e s      $ 17 6 4 6           $176.46            1       1
4 1 4 6 2 . 2 0 0 2 20207408465704 10t31t2001 2t1t2002, 2t28t2002,0001                                                    - TotalCharges                                        $3,41914             $3,419.14             0,          U
41463 2002 2 0 2 0 9 4 0 10 6 13 0 5 . 10/31/2001 3t1t2002 3/31/2002                                             0651- H o s p i c e / R o u t i n eH o m e C a r e             s 3 , 5 9 01 1       $ 3 , 5 9 01 1       31       31
41464 2002 2 0 2 0 9 4 0 10 6 13 0 5 10t31t2001 3t1t2002 3/31/2002                                                0001- T o t a l C h a r g e s                                 $ 3 , 5 9 01 1        $3,590.11            3'r     3'l
4 1 4 6 5 2 0 0 2 20212300787705 10t31t20Q1 4t1t2002 4t30t2002'0651                                                       - H o s p j c e / R o u t j n eH o m e C a r e         $3.474.30            $3,47430             30
4 14(rn 2Lrr):l? 0 212 3 0 0 7 8 7 7 0 i r10t31t2001 4t1120024/30/2002                                            0001- T o t a lC h a r g e s                                  s 3 . 4 7 43 0       $ 3 , 4 7 43 0        30
4 1 4 6 7 2 0 0 ? 2 0 2 1 5 6 0 0 6 1 1 9 0150/31/2001                             5t1t2oo2 5t31t20020651- H o s p i c e / R o u t i n eH o m e C a r e                          $ 3 , 5 9 01 1       $ 3 , 5 9 01 1       31      31
41468 2002 2 0 2 1 5 6 0 0 6 1 1 9 010t31t2001                5'                   5t1t2002. 5t31t2002.OOO1               - TotalCharges                                         $ 3 , 5 9 01 1       $3,590.11            3'l     JI

4 1 4 6 9 2 0 0 2 2 0 219 7 0 8 0 7 3 3 0 4 10t31t2001 611t20026/30/2002                                          0651- H o s p i c e / R o u t i n eH o m e C a r e             $3,474.30            $3,47430             30.     30
 41470 7002 2 0 219 7 0 8 0 7 3 3 0 4 10t31t2001 6t1t2002                                      ' l
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 4 1 4 7 1 2 0 Q 2 2 0 219 7 0 8 0 7 3 3 0 4 10t31t2Q01 6t1120026/30/200210001                                            - TotalCharges                                         $ 3 , 6 13 2 4       $3,613.24             0
 41472 2002 20221701076905 10t31t2001 7 t1t2002 7 t31t20020651- H o s p i c e / R o u t i n eH o m e C a r e                                                                     $3,590.11            $3,5S0.11            31      31
 41473 200? 20221701076905 10t31t2001 7 l1l2OO2 7 t31120O2':0OO1                                                          - Total Charges                                        $3,590.1             $ 3 , 5 9 01 1       31      31
 41474 2002 20224801410205 10/3'l/2001 8t1t2002,.8/31/2002.0651                                                           - H o s p i c e / R o u t i n eH o m e C a r e         $3,590.1             $3,590.11            3 1.    31
 4 1 4 7 5 2 0 0 2 20224801410205 10/31/2001 8t1t?002 8/31/2002                                                   0001- T o t a l C h a r g e s                                  $ 3 , 5 9 01 1       $3,590.1             31      31
 4 1 4 7 6 2 0 0 2 20227600720405 10t31t2001 st112002 9/30/20020651- H o s p i c e / R o u t i n eH o m e C a r e                                                                $ 3 , 4 7 43 0       $3,474.30            30
 41477 2002 20227600720405 10t31t2001 st1r2oo2, 9/30/2002i0001                                                            - Total Charges                                        $ 3 , 4 7 43 0       $3,474.30            30
 41478 2002 2 0 2 3 10 0 0 9 6 6 9 0 5 10131t200110t1t2002 10t31t20020651- H o s p i c e / R o u t i n eH o m e C a r e                                                          s3,681.56            $ 3 , 6 8 15 6       31      31
 41479 200? 2 0 2 310 0 0 9 6 6 9 0 5 10131t20011o| 1I 2002 1oI31 t2002:,0657 - H o s p i c e / P h y s i c i a S                                             n ervices             $ 1 7 64 6           $ ' 17 6 . 4 6     1       1
 41480 2002 2 0 2 3 10 0 0 9 6 6 9 0 5 10t31t2001 10t1t2oo210/31/2002                                             0001- T o t a l C h a r g e s                                  $ 3 , 8 5 80 2       $ 3 . 8 5 80 2       32      3
 4 1 4 8 1 2 0 0 ? 2 0 2 3 3 9 0 01 4 2 9 0 5 10/31/2001 11t 1120021113012002                                     0651 - H o s p i c e / R o u t i n eH o m e C a r e            $ 3 . 5 6 28 0       $3,s62 80            30      30
 4 1 4 t " 22 ( ) t 2 ?o21t1tc)(t104290it                     10t31/2Q4111t1/2002 11/30/2002                      0001- T o t a l C h a r g e s                                  $ 3 . 5 6 2B 0       s 3 , 5 6 28 0       30      30
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  41484 2002 2 0 3 0 0 6 0 0 9 6 6                   1 0 5 10/31/2001 12t1t2002 12t31t2002,0001                            - Total Charges                                       $ 3 , 6 8 15 6       $3,681.56            31      31
 4 1 4 8 5 2 0 0 3 2 0 3 0 3 7 010 15 2 0 5 10131t2001 1t 1t 2 0 o 3                                                       -                                                                                               31      31
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  4 1 4 8 6 ? . 0 0 i 2 0 3 0 3 7 0 01 15 2 0 5 10/31/2001                          1 1 1 t 2 0 0 31 / 3 1 / 2 0 0030 0 1- T o t a l C h a r g e s                               s 3 , 6 8 15 6       $ 3 , 6 8 15 6       ?1      31
  4 1 4 8 / 2 0 0 . , 2 0 : J 0 6 5 0 0 8 3 9 5 0 510t31t2001 2t1t2003 2t28t20030651- H o s p r c e / R o u t i n H                                        e ome Care            $ 3 , 3 2 s2 8       $ 3 , 3 2 52 8       28      28
 4 1 4 8 82 0 0 3 2 0 3 0 6 5 0 0 8 3 9 5 0 5 10t31t2001 2t1t2oo3 2t28t2o\3oOOl- T o t a l C h a r g e s                                                                         s 3 , 3 2 52 8       $ 3 , 3 2 52 8       28      28
 4 1 4 8 9 2 0 0 3 2 0 3 0 9 3 0 0 8 9 6 0 0 5 10t31t2001 3t1t2003 3/31/2003                                       0651- H o s p i c e / R o u t r n H     e ome Care            s 3 , 6 8 15 6       $ 3 , 6 8 1s 6       31      31
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4 1 4 9 b 2 0 0 3 2 0 3 18 8 0 0 9 9 0 1 0 5 10t31t2001 6/1t2003 6 / 3 0 / 2 0 0 3 0 0 0 1 - T o t a l C h a r g e s
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4 1 4 9 7 2 0 0 3 . 2 0 3 218 0 0 8 3 17 0 5 10/31t2001 7 1 1 t 2 0 0 37 l 3 1 l 2 O O 30 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                                              $ 3 , 6 8 1s 6        $3,681.56          31        31
4 | 4 9 8 2 0 0 3 2 0 3 218 0 0 8 317 0 5 10t31t2001 7 r1t2003 7 / 3 1 / 2 0 0 3 0 0 0 1 - T o t a l C h a r g e s                                                                          $ 3 , 6 8 1 . s 6,    $3,681.56          311       31
4 1 4 9 9 2 0 0 3. 2 0 3 2 4 7 0 0 8 5 5 9 0 510t31t2001 8t1t2oo3 8 / 3 1 / 2 0 0 3 0 6 5 ' 1- H o s p i c e / R o u t i n eH o m e C a r e                                                 s3,681.s6             $3,681.56          31i       11
4 1 5 0 0 2 0 0 3 2 0 3 2 4 7 0 0 8 5 5 9 0 510/31/2001                    ; 8t1t2oo3' 8 / 3 1 i 2 0 0 3 1 0 0 0 1- T o t a l C h a r g e s                                                 D J . O Or . J O      $ 3 , 6 8 15 6     31        31
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4 1 5 0 3 2 0 0 3 2 0 3 3 0 8 0 0 6 6 8 3 0 5'l0/3.1               /2001 10/1/2003 1 0 / 3 1 / 2 0 0 30 6 5 1 - H o s o i c e / R o u t i nHeo m e C a r e                                  s3,765     14         $3,761.54          31         31
4 1 5 0 4 2 0 0 3 2 0 3 3 0 8 0 0 6 6 8 3 0 5 10 / 3 1             / 2 0 0 1 1ot1t2OO3       1 0 / 3 1 / 2 0 0 30 0 0 1 - T o t a l C h a r g e s                                           $ 3 , 7 6 1s 4        $3,761.54          3l         31
4 1 5 0 5 2 0 0 3 2 0 3 3 3 8 0 0 6 8 4 6 0 510t31t2001'                     11t1t2003' I1 / 3 0 / 2 0 0 3 r 0 6 5 1- H o s p i c e / R o u t i n eH o m e C a r e                          $ 3 , 6 4 02 0        $3.64020           30:
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4 15 0 8 2 0 0 3 2 0 4 0 0 5 0 0 5 9110 5 10/31                    /2001 1211120031          1 2 l 3 1 / 2 0 0 30 0 0 1 - T o t a l C h a r g e s                                           $3,761.54             $3,761.54          31         31
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4 1 ' r 1 2 2 O O 4 2 0 4 0 6 4 0 16 15 4 0 5 10/31/2001                      2t1t2004 2 l 2 9 l 2 O O 40 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                              $ 3 , 5 18 6          $ 3 , 5 18 6                  29
4 1 5 1 3 2 0 0 4 2 0 4 0 6 4 0 1 6t 5 4 0 5 10/31                 /2001 2t1t2004 212912004t00O1                          - Total Charges                                                   $ 3 . 5 18 6          $ 3 , s 1 88 6      29:       29
4 1 5 1 4 2 0 0 4 2 0 4 0 9 7 0 0 8 9 8 5 0 5 10t31t2001 3t1t2004 3 / 3 1 / 2 0 0 4 0 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                                                  $ 3 , 7 61. 5 4       $ 3 , 7 61. 5 4     31:       JI
4 1 s 1 5 2 0 0 4 2 0 4 0 9 7 0 0 8 9 8 5 0 5 10131t2001 3t1t2004' 3 t 3 1 l 2 O O O                              4 0 O 1- T o t a lC h a r g e s                                           $ 3 , 7 6 15 4        $3,761.54           31        31
4 1 5 1 6 2 ( ) 0 4 2 0 4 12 5 0 0 8 4 7 9 0 5 1 0 / 3 1 / 2 0 0 141112004                    4 / 3 0 / 2 0 0 4 0 6 5 ' 1 | l o s p r c e / R o u l i n eH o m e C a r c                    $ 3 , 6 4 02 0        $ 3 . 6 4 02 0      30        30
4 1 , , 1 7 2 0 0 4 2 r ) 41 2 5 0 0 8 4 7 9 0 5 10t31t2001 411t20044 / 3 0 / 2 0 0 4 . 0 0 0 1 T o t a lC h a r g e s                                                                      $ 3 , 6 4 02 0 .      $3,640.20           30        30
4 | 5 ' ,Br 2 0 0 4 2 0 415 5 0 0 9 0 3 0 0 5 1 0 / 3 ' l / 2 0 l0 1 5t1t2004 5 / 3 ' 1 / 2 0 0 40 6 5 ' l - H o s p i c e / R o u t i n eH o m e C a r e
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4 1 5 2 0 2 0 0 4 2 0 4 1 9 7 0 3 0 5 2 2 0 5 10t31t2001 6t1t2004 6 1 3 0 1 2 0 0 40 6 5 1 - H o s D i c e / R o u t r nH                                   eo m e C a r e                  $3,640.20             $3,640.20                     30
4 1 5 2 1 2 0 0 4 2 0 4 19 7 0 3 0 5 2 2 0 5 10t31t2001 6t1t2oo4 6 / 3 0 / 2 0 0 4 0 0 0 1 - T o t a l C h a r g e s                                                                                                                   gl
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4 15 2 2 2 o O 4 2 0 4 2 19 0 4 7 6 5 0 0 5 10/31/2001 7 t1t2004 7 1 3 1 1 2 0 0 40 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                                                    $ 3 , 7 6 15 4 ,      $ 3 , 7 6 15 4      31        31
4 1 5 2 3 2 0 0 4 2 0 4 2 1 9 0 4 7 6 5 0 0 5 10t31t2001 7 t1t2oo4 713112OO4,0001                                         - Total Charges                                                   s 3 , 7 6 15 4        $3,761.54            0
4 1 5 2 4 2 0 0 4 2 0 4 2 5 3 0 1 5 5 3 0 0 5 10/31/2001 8t1t2004 8 i 3 1 1 2 0 0 40 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                                                   $3,761.54             $3,761.54           3 1,      31
4 1 5 2 5 2 0 0 4 2 0 4 2 5 3 0 15 5 3 0 0 5 10131t2001 8t1t2004 8 1 3 1 l 2 O O 0                                40 0 1 - T o t a l C h a r g e s                                          $ 3 , 7 6 15 4        $3,761.54            0         0
41 5?6 2004 20428101732005 1ot31t2OO1gt1r20o4 9 / 3 0 / 2 0 0 4 0 6 5 1 - H o s D i c e / R o u t i n H                                                     e ome Care                      $ 3 , 6 4 02 0 .      $3,64020            30.       30
4 15 2 7. 2 0 0 4 . 2 0 4 2 8 10 1 73 2 0 0 5 10t31t2001                      gt1/2004 9/30/2004 0001 - Total Charges
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4 6 71 1 2 0 0 3 2 0 3 0 6 5 0 0 8 3 1 8 0 5 2t312003 2t3t2oo3:2 1 2 8 1 2 0 0 30 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                                                      $ 3 , 0 8 77 6        $ 3 , 0 8 77 6      zo        zo
4 6 71 2 ? O O 32 0 3 0 6 5 0 0 8 3 1 8 0 5 ?t3t2oo3 2t3t2003 2128120030657 - Hospice/PhysicianServices                                                                                       $22107                $22107                1
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4 u 7 1! r 2 0 0 3 2 0 3 0 9 3 0 0 9 3 9 ! t 0 i ) '2t3t2003 3t1t2003 3 1 3 1 t 2 0 0 30 0 0 1 - T o t a l C h a r g e s
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4 6 7 2 0 2 0 0 3 2 0 3 19 8 ' 1 0 4 1       5904           2/3t2003 6/1/2003 6 / 3 0 / 2 0 0 3 0 6 5 ' 1- H o s p i c e / R o u t r n H                   e ome Care                       $1,900     16                    16                 '16
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4 6 7 2 3 2 0 0 3 2 0 3 1 9 8 1 0 4 1 5 9 0 4 2t3t2003 6t1/2003 6/30/2003 0657 - Hospice/PhysicianServices                                                                                      $ 7 86 3              $ 7 86 3         1.        1
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  4 6 7 3 1 2 0 0 3 2 0 3 2 3 8 1 6 1 5 1 7 0 4 2t3t2003 7t1t2oo3 7t3112003                            -
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  4 6 7 3 2 2 0 0 3 , 2 0 3 2 3 8 16 15 17 0 4                   2r3t2003. 7t1t2003.7/31/20030657- H o s p i c e / P h y s i c i a S     n ervices                                        $ 1 7 77 7         $177.77            1       1
  4 G 7 3 32 0 0 3 2 0 3 2 3 8 1 6 1 5 1 7 0 4 2t3r2oo3. 7t1t2003 7i31l20o3ooo1- T o t a l C h a r g e s
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  4 6 7 3 4 2 0 0 3 , 2 0 3 2 4 7 0 0 9 0 7015                   2t3t2oj3', 8t1t2}O3ti 8/31/2003r0651  - H o s p i c e / R o u t i n eH o m e C a r e                                                                              '
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  46735 i 2003 20324700907 105                                   2t3t2003 8t1t2003 8/31/2003oO01- T o t a l C h a r g e s                                                               $ 3 , 6 8 1s 6    $3,681.s6           31       31
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  4 6 73 7 . 2 0 0 3 ,2 0 3 2 7 9 0 3 3 0 7 9 0 5 2t3t2003 gt1t2o03 9/30/20030001- T o t a l C h a r g e s
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  4 6 7 3 8 2 0 0 3 2 0 3 3 1 7 0 0 3 0 6 4 0 5 2t3t2oo3:,                   1ot11200310/31/200310651  - H o s p i c e / R o u t i n eH o m e C a r e                                   $2.305.46         $ 2 , 3 0 54 6      19       19
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  4 6 7 4 1 2 0 0 3 2 0 3 3 1 7 0 0 3 0 6 4 0 5 2t3t2003 10/1/200310/31/2003                     0657- H o s p i c e / P h y s i c i aS  n ervices                                        s 1 1 63 7         sl 16.37            1,     1
  46742 2003 20331700306405                                      2131200310t1t2oo3.1o/31/2003    0657- H o s p i c e / P h y s i c i a S n ervices                                        $ 1 0 39 8         $ 1 0 39 8         3,
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 46745 2003 20401309294204                                       2t3t2003.1 1t1t2oo311/30/2003   0651- H o s p i c e / R o u t i n eH o m e C a r e                                     s 1,09206         $1,092.06             I
  46746 2003 20401309294204                                      2/312003 11t1/2003   11/30/2003 0652- H o s p i c e / C o n t i n u o uHs o m e C a r e                               $ 14.04676        $14,046.76          476
  46747 2003 20401309294204                                      2t3r2003 11t1t200311/30/2003    0657- H o s p i c e / P h y s i c i a S n ervices                                        s27040             $270.40            4
  46748 2003 20401309294204                                      2t3t2003 11t1t200311130/2003    0001- T o t a l C h a r g e s                                                         $ 15 , 4 0 92 2   $15,409.22             0
 4 6 7 4 9 2 0 0 3 2 0 4 0 0 5 0 0 6 4 4 5 0 5 ? t 3 t 2 o o 3 1 2 t 1 / 2 0 0132 l 3 1 / 2 0 0036 5 1- H o s p i c e / R o u t r n tel o m e C a r e
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 4 6 7 5 0 2 0 0 3 2 0 4 0 0 5 0 0 6 4 4 5 0 5 2t3r2003 12t1t2003                     12l31/2003 0OO.t - TotalCharges                                                                   s3.761     54     $ 3 . 7 6 15 4      31       31
  4 6 7 5 1 2 0 0 4 2 0 4 0 3 5 0 2 2 6 0 9 0 5 2t3t2oo3 1t1t2004 1/31/2004                      0651- H o s p i c e / R o u t i n eH o m e C a r e                                     s 3 , 7 6 15 4    $3,761.54           JI       31
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  4 6 75 3 2 0 0 4 2 0 4 0 6 5 0 17 2 7 1 0 5                    2t3t2003,. 2t1t2004. 2t29t20040651- H o s p i c e / R o u t i n eH o m e C a r e                                       $3,518.86         $ 3 , 5 1 88 6      29
  46754 2004 20406501727 105                                     2t3t2003. 2t1t2004 2t2gt20o4oool - T o t a l C h a r g e s                                                             $ 3 , 5 18 6      $3,518.86           29
  4 6 75 5 . 2 0 0 4 2 0 4 0 9 7 0 0 9 2 3 8 0 5 2t3t2003. 3t1t2oo4 3t31t20040651- H o s p i c e / R o u t i n eH o m e C a r e
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 4 6 7 5 6 2 0 0 4 2 0 4 0 9 7 0 0 9 2 3 8 0 5 2r3t2oo3 3t1t2oo4 3/31/2004'0656                        - H o s p i c e / G e n e r aIln p a l i e n tC a r e ( N o n - r e s p i t e )  $1,077.60         $1,077.60                     z
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  4 6 7 6 6 2 0 0 4 2 0 4 19 7 0 3 1 . 1 5 6 0 5 2t3t2003 6t1t2004.6/30/2004                     0001- T o t a l C h a r g e s                                                          $ 3 , 6 4 02 0    $3,640.20             0
  4 6 7 6 7 2 0 0 4 2 0 4 2 1 9 0 4 8 3 4 9 0 5 2t3r2003. 7r1t2004 7t31t20040651- H o s p i c e / R o u t i n eH o m e C a r e
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 4 6 7 6 8 2 0 0 4 2 0 4 2 1 9 0 4 8 3 4 9 0 5 2t3t2003 7t1120047/31/2004                              -
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  4 6 7 71 2 0 0 4 2 0 4 2 1 9 0 4 8 3 4 3 0 5 2/3/2003 7t1t2004 7t31t2004                       oool - T o t a l C h a r g e s                                                         $ 5 . 1 6 18 2    $ 5 , 1 6 81 2        0       0
 4 6 7 7 2 2 0 0 4 2 0 4 2 5 1 0 0 5 0 5 4 0 5 2l3t2oo3 8t1t2oo4 8/31/2004                             -
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  4 6 7 7 3 2 0 0 4 2 0 4 2 5 1 0 0 5 0 5 4 0 5 2t3t2003 8t1t2oo4 8/31/2004                      0656- H o s p i c e / G e n e r aIln p a t i e n tC a r e ( N o n - r e s p i t e )    $ 5 , 3 8 80 0    $ 5 , 3 8 80 0      101      10
  4 6 7 74 2 0 0 4 2 0 4 2 5 10 0 5 0 5 4 0 5                    2t3t2OO3 8t1t2004 8/31/2004     0657- H o s p i c e / P h y s i c i a S n ervices                                        $ 2 8 06 4        $280.64             8       I
 4 G 7 75 ? 0 0 4 7 0 4 2 5 10 0 5 0 a i 4 0 5 ?t \t?ooi                      Btlt?oo4 8t31t2004       -
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7 6 6 7 9 2 0 0 1 2 0 1 3 4 1 0 0 7 6 3 6 0 510t31t2001 11t1t2001                              1 1 / 3 0 / 2 0 0 1 ] 0 6- 5H1o s p i c e / R o u t i n eH o m e C a r e      $ 3 , 4 7 43 0   $3,474.30
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7 6 6 8 1 2 0 0 1 2 0 1 3 4 1 0 0 7 6 3 6 0 510131t200111t1t2001                                                         -
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7 6 6 8 2 2 0 0 1 2 0 2 0 0 4 0 0 7 7 4 9 0 5 10t31t20011 2 t 1 / 2 0 012t31t2001              1                 ,0651- H o s p i c e / R o u t i n eH o m e C a r e         $ 3 , 5 9 01 1   $3,590.1                JI       31
76683 2001 20200400774905 10t31t2001 12t112001:.                                               12l31/200         l O1 O 0-1T o t a l C h a r g e s                           $ 3 , 5 9 01 1
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7 6 6 8 5 2 0 0 2 2 0 2 0 3 6 0 0 9 2 5 3 0 5 1O/31/2001                         1t1t2002 1t31t2o}2,OOO1                 - TotalCharges                                      $3,590.11        $ 3 , 5 9 01 1          JI       31
7 6 6 8 6 2 0 0 2 2 0 2 0 6 4 0 0 7 1 8 0 i r 10t31t2001: 2t1t2002 2t28t2o}2'0651                                        - H o s p i c e / R o u t i n eH o m e C a r e      $ 3 , 2 4 26 8   $ 3 , 2 4 26 8          zo
70687 2002 2020640071 1 805 10t31t2001 2/1t2oO22/28t2002,0657                                                            - H o s p i c e / P h y s i c i aS    n ervices       5 1 7 64 6        $ 1 7 64 6              1
7 6 6 8 8 2 0 0 2 2 0 2 0 6 4 0 0 7 1 1 8 0 510r31r2001 211t2OO2'l                              2t28r20020001- T o t a l C h a r g e s                                       $3,41I14         $3,41914                25.
7 0 6 8 9 2 0 0 2 2 0 2 0 9 4 0 1 0 7 6 7 0 5 10/31/2001 3t1t2002 3/31/2002                                       0651- H o s p i c e / R o u t i n eH o m e C a r e         $3,590.11        $3,590.11               31       31
7 G 6 9 02 0 0 2 2 0 2 0 9 4 0 1 0 7 6 7 0 5 10t31t2001 3t1t2002 3/31/2002                                        0001- T o t a l C h a r g e s                              $ 3 , 5 9 01 1   $3,590.1                3 1,     31
7 6 6 9 1 2 0 0 2 2 0 2 1 7 7 1 4 1 5 1 0 0 4 1O/31/2001 4t1t2002 4/30/2002                                       0651- H o s p i c e / R o u t i n eH o m e C a r e         s 3 , 4 7 43 0   $ 3 , 4 7 4 . 3 0.      30       30
7 6 6 9 2 2 0 0 2 2 0 2 1 7 714 1 5 1 0 0 4 10t31                    /2001 4t1t2oo2 4/30t2D02t.0657                      - Hospice/PhysicjanServices                              $40.26           $40.26                1      1
7 6 6 9 3 2 0 0 2 2 0 2 1 7 7 1 4 1 5 1 0 0 4 10t31t2001 4t1t2002 4t30t20020657- H o s p i c e / P h y s i c i a S                                             n ervices                                                             'I
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7 6 6 9 4 2 0 0 2 2 0 ? 1 7 71 4 1 5 1 0 0 4 10/31/2001 4t1t2002 4/30/2002                                               -
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7 6 6 9 5 2 0 0 2 2 0 2 1 5 6 0 0 6 2 7 S 0 510131t2001 5t1120025/31/2002                                         0651- H o s p i c e / R o u t i n eH o m e C a r e         $ 3 . 5 9 01 1   $3,590.11               31.      31
7 6 6 3 6 2 0 0 2 2 0 2 1 5 6 0 0 6 2 7 9 0 5 10/3'l/2001 5t1tzoo2l5/31/2002                                      0001- T o t a l C h a r g e s                              $ 3 , 5 9 01 1   s 3 , 5 9 01 1          31       31
i r ( i ( ) 7 : ) o ( ) : ,j , 0 : .I,3 { t 0 0 7 2 : } 6 0 a 1
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76699 2002 20221701054105 10t31t2001                                         . 7 t1t20o2 7t31t20020651- H o s p i c e / R o u t i n eH o m e C a r e
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7 6 7 0 0. 2 0 0 2 2 0 2 2 17 0 1 0 9 4 . 1 0 5 10/31/2001 7t1t20o2 7t31t2002oool - T o t a l C h a r g e s
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                                                                                                                  0651 H o s p i c e / R o u t i n e[ ] o n t e C a r e      $ 3 . 5 9 011    $ 3 , 5 9 01 1          JI       JI
76702 2002 ?07?4801429405 10/31/2001                                             8t1t2oo2, 8 / 3 1 / 2 0 0020 0 1- T o t a l C h a r g e s                                   $ 3 , 4 ) 9 01 1 $ 3 , s 9 01 l          31       31
7e , 70 3 2 0 0 7 . 2 0 2 2 76 0 0 73 8 7O s 10t31t2001 9t1t2002 9 / 3 0 / 2 0 0026 s 1 -H o s p i c e / R o u t i n e                                    i - l o m eC a r c $ 3 , 4 7 43 0   $3,474.30               30       30
76704 2002 20227600738705 10/31/2001 gt1t20o2,9 / 3 0 / 2 0 0026 5 7 -H o s p i c e / P h y s i c i a S                                                        n ervices        s176.46          s 176.46                1      1
76705 2002 20227600738705 10t31t2001 9t1t2002,9/30/2002i0001                                                             - TotalCharges                                      $3,6s0.76        $ 3 , 6 5 0 .z 6        31       JI
7 6 7 0 6 2 0 0 2 2 0 2 3 1 0 0 0 9 8 6 3 0 5 10 / 3 1               / 2 0 0 1 10t1t200210/31/2002                 065'l- H o s p i c e / R o u t i n eH o m e C a r e       $3,681.56        $3,681.s6               31.      31
7 6 7 0 7 2 0 0 2 2 0 2 3 10 0 0 9 8 6 3 0 5 10/31/200.110t1t20021,                            10/31/2002            0 0 1 -T o t a l C h a r g e s                          $ 3 , 6 8 15 6   $ 3 , 6 8 15 6          31       31
7 6 7 0 8 , 2 0 0 22 0 2 3 3 9 0 1 0 6 2 6 0 510t31t200111/1t2002                              1 1 / 3 0 / 2 0 0 2 1 0 6H5o1s p- i c e / R o u t i n eH o m e C a r e        $ 3 , 5 6 28 0   $ 3 , 5 6 2 . 8 0,      30       30
7 6 7 0 9 2 0 0 2 2 0 2 3 3 9 0 1 0 6 2 6 0 5 10t31t20o1 11t1t2002                                                       -
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7 6 71 0 2 0 0 2 2 0 3 0 0 6 0 0 9 8 1 4 0 5 1ot3'/20o1 1 2 t 1 t 2 o o 12t31                  2 ) t200210651            - H o s p i c e / R o u l i n eH o m e C a r e      $3,681.s6
76 7 11 2 0 0 2 2 0 3 0 0 6 0 0 9 8 1 4 0 5 10t31t200112t1t200212t31t200210Oo1
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7 6 71 2 2 0 0 3 2 0 3 0 3 7 0 1 0 3 5 8 0 51 0 / 3 1 / 2 0 0 1 1t1t2003 1 / 3 1 / 2 0 0036 5 1 -H o s p i c e / R o u t i n eH o m e C a r e
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7 { r ; / ' 12. 10 0 3 2 0 3 ( } 3 7 0 I 0 l J 5 B 015 0 i 3 1 / 2 0 0 1 1t1t2003 1 / 3 1 / 2 0 0030 0 1- T o t a l C h a r g e s
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7 6 71 4 2 0 0 3 2 0 3 0 6 5 0 0 8 6 0 8 0 5 10/31/2001 2t1t2003 2t28t20030651- H o s p r c e / R o u t i n H                                             e ome Care         $3,325.28        $ 3 , 3 2 5 . 2 8.      28.      28
7 6 7 1 5 2 0 0 3 2 0 3 0 6 5 0 0 8 6 0 8 0 5 10t31t2001 2t1r2OO32t28t2003:OOO1                                          . Total Charges
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7 6 7 1 6 2 0 0 3 2 0 3 0 9 3 0 0 9 ' 1 5 4 0 10t31t20o1      5                  3t1120031      3/31/2003         0651- H o s p i c e / R o u t i n eH o m e C a r e         $ 3 , 6 8 15 6   $ 3 , 6 8 1 . 5 6.      a1
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7 6 71 7 2 0 0 3 2 0 3 0 9 3 0 0 9 1 5 4 0 510t31t2001 3t112003 3 / 3 1 / 2 0 0030 0 1- T o t a l C h a r g e s
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7 6 7 i B 2 0 C ) 32 0 3 1 2 5 0 0 3 3 4 5 0 510t31t2001 4 t1t2003 4/30/2003                                      0651- H o s p i c € / R o u t i n eH o m e C a r e         $3,562.80        $3 , 5 6 2 . 8 0        30
7 6 7 1 9 2 0 0 3 2 0 3 1 2 5 0 0 9 3 4 5 0 510/31/2001 4t1t2oo3'4 / 3 0 / 2 0 0 3 ' 0 0 0T1o-t a l C h a r g e s
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7 6 7 2 1 2 0 0 3 2 0 3 15 7 0 0 9 4 5 7 0 5 10t31t2001 5t1t2003 5/31/2003                                        0001- T o t a l C h a r g e s                              $ 3 , 6 8 15 6   $3,681.56               31       31
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7 6 7 3 0 2 0 0 3 20328900483605                  10t31t2001 911t2003 9 / 3 0 / 2 0 0 3 i 0 6 5 7- H o s p i c e / P h y s i c i aS                  n ervices         $222.71              $22?71                   1       1
7 6 7 3 1 2 0 0 3 .20328900483605                 10/31t2001      , 9/1/2003i9/30/2003 0001 - Total Charges                                                         s13,690.79          $ 1 3 , 6 9 07 9       430I       430
76732',2003 20330800690705                        10131t200110t1t20031 O / 3 1 / 2 0 0 3 1 0 6 5-1H o s p i c e / R o u t i n eH o m e C a r e                       $ 2 , 9 2' t . 1 6  s2,912.16                  24'    24
7 6 7 3 3 2 0 0 3 20330800690705                  10t31t2001 1o/1t2003                 1 0 / 3 1 / 2 0 0 3i 0 6 5 2 - H o s p i c e / C o n t i n u o uHs ome Care   $4,515.03           $4,515.03             153        153
7 6 7 3 4 2 0 0 3 20330800G90705                  10/31/200 1 10t1t2oo3:,              1 0 / 3 1 / 2 0 0 30 0 0 1 - T o t a l C h a r g e s                          $ 7 , 4 2. 71 9     $ 7 , 4 2 71 9        177        177
7 6 7 3 5 2 0 0 3 20333800707205                  1Qt31t2001      . 1 1 t 1 t 2 0 01311/ 3 0 / 2 0 0 30 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e         $3,640.20           $ 3 , 6 4 02 0            30
7 6 7 3 6 2 0 0 3 20333800707205                  10t31t200111t1t2003                  1 1 / 3 0 / 2 0 0 30 0 0 1 - T o t a l C h a r g e s                          $3,64020            $3,640.20                 301
7 6 7 3 7 2 D O 32040050061             3005 10t31t2001 12t1t2OO3                      1 2 / 3 1 / 2 O O 3 . 0 6 5-1H o s p i c e / R o u t r n e  Home Care         $ 3 , 7 6 15 4      $3,761.54                 31      aa
7 6 7 3 8 2 0 0 3 20400s006            13005 10/31/2001 1 2 t 1 t 2 o o132:l 3 1 / 2 0 0 3 1 0 0 0 -1 T o t a l C h a r g e s                                        $3,761.54            $ 3 , 7 6 15 4           31      31
7 G 7 3 92 0 0 4 20403502280605                   10/31t2001 1t1t2OO4'l                  1 / 3 1 / 2 0 0 40 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e     $ 3 , 7 6 15 4      $3,761.54                 31      31
76140 2004 20a03502280605                         10t31t2001 1t1t2004 1 / 3 1 / 2 0 0 4 i 0 6 5 7- H o s p i c e / P h y s i c i a S                 n ervices                                                       ,l
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76742 2004 20406501                  690705 10 / 3 1 / 2 0 0 1 2l1t2oo4 212912004.0651- Hospice/RoutineHome Care                                                     $3,518.86            $ 3 , 5 1 88 6           2g
76743 2004 20406501                  690705 10/31t2001 2t1t2oo4 2 1 2 9 1 2 0 0 4 , 0 0 0-1T o t a l C h a r g e s                                                   $ 3 , 5 81 . 8 6     s 3 , 518 . 8 6          2g
76744 2004 , 2 0 4 0           1 6 0 0 5 . 1 4 2 010t31t2001
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7 6 7 4 5 2 0 0 4 2 0 4 1 0 6 0 0 5 1 4 2 10131t2001
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76746 2004 2 0 4 1 0 6 0 0 5 1 4 2 0               5
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7 ( J ] 4 7 ' 2 0 \ )2044 12I>0085030ir           10/31/2001 411/20044 l 3 O l 2 O O 40 6 5 1 - H o s p r c e / R o u t r nH                       e o n r eC a r e  s2.798        02     $ 2 . 7 9 08 2           23      23
7 6 i 4 8 . 2 0 0 4 . 2 0 412 5 0 0 8 5 6 3 0 5   10131t2001 411t20044 l 3 0 l 2 O O .40 6 5 2 - H o s p i c e / C o n t i n u o uH                     s ome Care   $ 4 . 2 1S    I 3    $ 4 , 2 1 99 3       143        143
76749 2004 2041250085630510t31t2001 4r1t2004 4 | 3 O I 2 O O 0                                                       -
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/ G 7 i r O2 0 0 4 2 0 4 1 9 8 1 1 4 0 4 9 04t18t20044                 5t1t2OO45 / 3 1 / 2 0 0 4 , 0 6 5 1- H o s p i c e / R o u t i n eH o m e C a r e             $ 3 , 7 6 15 4       $3,761.54              J I       31
/ 6 7 4 ) 12 0 0 4 . 2 0 4 1 9 B 1 1 4 0 4 94t18t2004
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76752 2004 2042080308                    1405 10131t2001 6t1t2oo4,6 / 3 0 / 2 0 0 4 0 6 5 ' 1- H o s p i c e / R o u t i n eH o m e C a r e                          $ 3 . 6 4 02 0       $3,640.20                30
76753 2004 20420803081                    405 10/31/2001, 6t1t2004t.6 / 3 0 / 2 0 0 4 r 0 0 0 1- T o t a l C h a r g e s                                             $ 3 , 6 4 02 0       $3,640.20                  0           0
7 6 7 5 4 2 0 0 4 20421          90479300510131t2001 7 t 1 t 2 0 0 47. 1 3 1 1 2 0 0 4 . 0 6 5-1H o s p i c e / R o u t i n eH o m e C a r e                         $3,761.54            $3,761.54                31      J I
7 6 7 5 5 . 2 0 0 42042190479300510/31/2001 7 t 1 t 2 0 0 4713112004,.OOO1               .                           - Total Charges
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7 6 7 5 6 2 0 0 4 2042510050990510t31t2001 8t1t2004 8 / 6 / 2 0 0 4 0 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e
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76757 2004 2042s1                 0050990510131t2001 8t1t2004 8 / 6 / 2 0 0 4 0 6 5 2 - H o s p i c e / C o n t i n u o uHs o m e C a r e                            $ 1 , 0 03 4         $1,003.34                34      34
76758 2004 .2042510050390510t31t2001 8t1t2OO4                                        | 8 / 6 / 2 0 0 4 . 0 0 0 1- T o t a l C h a r g e s                            $ 1, 4 8 8 . 7 0     $1,488.70                  0
94423 2003 203050090233041t2112003 1t21t2003'1 1 3 1 1 2 0 0 0                                              3 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e     $ 3 5 62 8            $356 28                 3
94424 20Q3 203050090233041t21t2003 1t21t2003 1 / 3 1 / 2 0 0 3 . 0 6 5 2- H o s p i c e / C o n t i n u o uH                                            s ome Care   $5,458.32            $5.458.32            189
9 4 4 2 5 2 0 0 3 2030s0090233041t21t2003 1t21t20031 / 3 1 / 2 0 0 30 6 5 7 - H o s p i c e / P h y s i c i a S                                      n ervices         $ 18 0 2 7            $ 1 8 02 7              1
9 4 4 2 6 2 O O 3 203050090233041t21t2003 1t21t20031 1 3 1 1 2 0 0 03 0 0 1 - T o t a l C h a r g e s
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94428 2tJ03 20306500845                    105 1t21t2003               2t1t2003 2 l 2 8 t 2 O O 3 . O 0 O- 1T o t a l C h a r g e s
                                                                  ,i                                                                                                 $3,325.28            $3,325.28                28
94429 2003 2030930090                    1105 1t21t2003 3/1/2003 3 / 3 1 / 2 0 0 3 0 6 5 1 - H o s p i c e / R o u t i n el l o m e C a r e                          $3.681.s6            $ 3 , 6 8 15 6         . ) l     31
9 4 4 3 0 2 0 0 3 2030930090             1105 1t21t2003 3r1120033 / 3 1 / 2 0 0 30 0 0 1 - T o r a lC h a r g e s                                                    s3.681.56            $ 3 , 6 8 15 6           31      31
94431 2003 203r 250091                   9905 1t21t2003 4t1t20o3l4 / 3 0 / 2 0 0 3 . 0 6 5 1- H o s p i c e / R o u t r n H                        e omeCare         $ 3 . s 6 2B 0       $ 3 , 5 6 2B 0           30
94432 2003 2 0 3 1 2 5 0 0 9 1 S 9 01/21            5 t2003. 4t1t2003                   4  / 3 0 / 2 0 0  3  . 0 0 0 -1l o t a l C h a r g e s
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94434 2003 2 0 3 1 5 7 0 0 9 3 1 3 0 1t21t2003     5                   5t1t2003.5 1 3 1 1 2 0 Q036 5 7 - H o s p r c e / P h y s r c i aSne r v i c e s                $ 1 2 16 3           $121.63                  1           I
94435 2003 2 0 3 1 5 7 0 0 9 3 1 3 01t21           5 t2003 511t2003 5 / 3 1 / 2 0 0 3 0 0 0 1 - T o t a l C h a r g e s                                              s 3 . 8 0 31 9       $ 3 , 8 0 31 I           11
944i6 2003 20318800995205 1t21t2003 6t1t2003 6 1 3 0 1 2 0 0 3                                              0 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e   $ 3 , s 6 2B 0      $3 . 5 6 2 . 8 0          30
94437 ?Ot):\ 2 0 318 8 0 0 9 9 5 2 0 51t21t2003 6 / 1/ 2 0 0 3 6 / 3 0 / 2 0 0 3 0 0 0 1 , T o t a l C h a r g e s
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1 1 4 4 3 82 ( ) ( J . J2 0 3 2l 8 0 0 8 3 8 2 0 5 1t21t2003 7t 1 t 2 0 a 3 7 / 3 1 / 2 0 0 30 6 5 1 H o s p i c e / R o u t r nHeo n r e C a r e
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9 4 4 3 9 2 0 0 3 2 0 3 218 0 0 8 3 8 2 0 5 1t21t2003 7 t1t2003 7 t 3 1 t 2 0 O 30 0 0 1 - T o t a l C
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  944421.t003?03?4700862405 1121t2003 8 / 1 / 2 0 0 3 . 8 / 3 1 / 2 0 0 3 0 6 5 7 - H o s p i c e / p h y s i c i a n6 e r v i c e s
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  944432003 203247008624051t21/2003 81112003 8131/20030657 - Hospice/physician Services                                                                                                                                            ^i
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  94444 .2003 20324700862405 1121t2003 8 l 1 t 2 O O 3 8 / 3 1 / 2 0 0 3 0 6 5 7 - H o s p i c e / p h y s i c i a nS e r v r c e s
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  944452003 203247008624051t2112003                                  ,    8 / 1   / 2 0 0 3 .                            -
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  9 4 4 4 62 0 0 3 ' 2 0 3 2 7 9 0 3 2 6 3 8 01r2112003 5                 9 / l / 2 0 0 3 9 / 3 0 / 2 0 0 3 0 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                       s3,562.80        $3,562.80               30
  944472OO3203279032638051t21t2003 9 / 1 / 2 0 0 3 9 / 3 0 / 2 0 0 3 0 6 5 7 - H o s p i c e / P h y s i c i a S                                          n ervices                           $78 63          $7863                 1r     1
  944482003 203279032638051/21/2003 9 / 1 t 2 0 0 3 . 9 / 3 0 / 2 0 0 3 . 0 0 0 1- T o t a t C h a r g e s
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  9 4 4 4 9 . 2 0 0230 3 3 0 8 0 0 6 7 5 0 01t21t2003  5             . 1 0 / 1 / 2 0 0 31 0 / 3 1 / 2 0 0 3 . 0 6 5-1H o s p i c e / R o u t i nHeo m e C a r e                          $3,761.54        5 3 , 7 6 1 . s, 4      31      31
  944502003 203308006750051t21t20031 0 / 1 / 2 0 0 31 0 i 3 1 / 2 0 0 30 0 0 1 - T o t a t C h a r g e s                                                                                 $ 3 , 7 6 15 4   s 3 . 7 6 15 4          31      31
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  s44522003203363163258041t?1t2003 1 1 1 1 1 2 0 0 31 1 1 3 0 1 2 0 0 03 6 5 7 - H o s p i c e / P h y s i c i a S                                        n ervices                           $78 63          $ 7 86 3               1     1
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  944542003 204005005984051t21t2003                                     1 2 1   1   1 2 0 0 3 1 1 2 / 3 1 / 2 0 0 3 , 0 6-5 1
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  944552003 204005005984051t21t2003 1 2 1 1 l 2 O O 31 2 1 3 1 1 2 O O030 0 1 - T o t a l C h a r g e s
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  9 4 4 s 62 0 0 42 0 4 0 3 5 0 2 2 5 3 1 01t21t2003   5                  1 1 1 l 2 O O. 4 1 1 3 1 1 2 0 0 4    0 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                   $ 3 , 7 6 15 4   s 3 , 7 6 15 4          31      31
  944572004 204035022531051t21t2003 1 t 1 1 2 0 0 4 1 1 3 1 1 2 0 0 04 0 0 1 - T o t a t C h a r g e s
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  944582004 204064016273051t21t2003 2 1 1 1 2 0 0 4 2 l 2 9 l 2 O O 40 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e
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  944602004 204064016273051t21t2003 2 1 1 l 2 O O 4 2 t 2 g l ? O } 4 O O O -1 T| o t a t C h a r g e s
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  tt44\1 2004 204097009562051 , ' 2 1 / 2 0 0 33 t 1 1 2 Q 0 4 3 / 3 0 / 2 0 0 40 6 5 1 l J o s p i c e / R o u t i n et J o m e C a r e
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110290.2002            .202  1 6200033608               3t7 t2002                                                        -
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1102912002.202162000336083t7t200? 3 l 7 l 2 O O 2 3 1 3 1 l 2 O O 02 6 5 6 - H o s p i c e / G e n e r aItn p a t i e n tC a r e ( N o n - r e s p i t e )
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1102922002 202't6200033608 3t7/2002.. 31712002. 3t3112OO2,0657- Hospice/physician Servrces
11 0 2 9 3 , 2 0 0. 220 2 1 6 2 0 0 0 3 3 6 0 83t7t2002 3 1 7 1 2 0 0 2 .3 / 3 1 / 2 0 0 2 . 0 0 0 1- T o t a t C h a r g e s
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1103042002 20224801415705 3t7t2002, 8 1 1 1 2 0 0 2 .8 / 3 1 / 2 0 0 2 . 0 0 0 1- T o t a t C h a r g e s
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110307?002 20231000s72305 3/7t2002 1 0 1 1 1 2 0 0 21 O t 3 1 t 2 O O026 5 1 H o s p i c e / R o u t i n eH o m e C a r e
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11 0 3 1 8 . 2 0 0 32 0 3 0 9 : ] 0 0 9 0 1 8 0 5 3t7t2002 3t1t2003 3/31/2003                06s1- H o s p i c e / R o u t i n eH o m e C a r e      $ 3 , 6 8 15 6     $ 3 , 6 8 15 6     .tl    31
11 0 3 1 9 2 0 0 3 2 0 3 0 9 3 0 0 9 0 1 8 0 s 3t7t2002 3t1t2O03tl          3/31/2003i 0657- H o s p i c e / P h y s i c i aSn e r v i c e s              $66 06             $66.06         1'
1 1 0 3 2 02 0 0 3 2 0 3 0 9 3 0 0 9 0 1 8 0 5 3t7t2002 3/1/2003 3/31/2003 0001- T o t a l C h a r g e s
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r 10 3 2 r 2 0 0 3 2 0 312 s 0 0 9 2 0 5 0 5 3t7/2002 4t1t2003 4/30/2003                     0651- H o s p i c e / R o u t i n eH o m e C a r e      $3,562.80          $3,562.80          3o
1 1 0 3 2 2 2 0 0 3 2 0 3 12 5 0 0 9 2 0 5 0 5 3t7t2oo2 4t1t2oo3:4/30/2003                   0001- T o t a l C h a r g e s                           $3,562.80          $3,562.80          30'
1 1 0 3 2 32 0 0 3 2 0 3 1 5 7 0 0 9 3 1 8 0 5 3t7t2002' 5t1t2003 5/31/2003I0651- H o s p i c e / R o u t i n eH o m e C a r e
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11 0 3 2 4 2 0 0 3 2 0 3 15 7 0 0 9 3 18 0 5            3t7t2002 5t1t2003 5/31/2003          0001- T o t a lC h a r g e s                            s3,681.5G          $ 3 , 6 8 15 6     .Jl    JI
11 0 3 2 52 0 0 3 2 0 3 1 8 8 0 0 9 3 5 8 0 5 3t7t2002 6t1t2oo3 6/30/2003                    0651- H o s p i c e / R o u t i n eH o m e C a r e      $3,562.80          $ 3 , 5 6 28 0     30,
11 0 3 2 6 2 0 0 3 2 0 3 1 8 8 0 0 9 9 5 8 0 5 3t7t2002 6t1t2003 6/30/2003                   0657- H o s p i c e / P h y s i c i a Sn ervices             $90 41             $90.41         1      1
1 1 0 3 2 7 2 0 0 3 2 0 3 1 8 8 0 0 9 9 5 8 0 5 3t7t2002          6t1t2003 6/30/2003OO01           - TotalCharges
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1 10 3 2 8 2 0 0 3 . 2 0 3 218 0 0 8 3 8 8 0 5 3t7t20o2 7 t1t2003 7/31/2003                  0651- H o s p i c e / R o u t i n eH o m e C a r e
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110 3 2 9 2 0 0 3 2 0 3 2I 8 0 0 8 3 8 8 0 5 3t7t2002 7 t1t2oo3t.7/31/2003                   0001- T o t a l C h a r g e s                           $ 3 , 6 8 ' 15 6   $3,681.56          3'l    31
11 0 3 3 02 0 0 3 2 0 3 2 4 7 0 0 8 6 3 0 0 5 3t7t2oo2 8t1t2oo3' 8/31/20030651- H o s p i c e / R o u t i n e                     Home Care
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1 1 0 3 3 12 0 0 3 2 0 3 2 4 7 0 0 8 6 3 0 0 5 3t7t2002           8t1t2003' 8/31/20030657- H o s p i c e / P h y s i c i aS         n ervices             $9041              $90 41         1      1
11 0 3 3 2 2 0 0 3 2 0 3 2 4 7 0 0 8 6 3 0 0 5 3t7t2002 8t1t2003 8/31/2003                   0001- T o t a l C h a r g e s                           $ 3 , 7 7 19 7     $3,771.97          32     32
1 r 0 3 3 3 2 0 0 3 2 0 3 2 i 9 0 3 2 0 4 5 0 5 3t7t2002 9t1t2003 9/30/2003                  0651- H o s p i c e / R o u t i n eH o m e C a r e      $ 3 , 5 6 28 0     $3,562.80          30     30
110 3 3 4 .2 0 0 3 2 0 3 2 79 0 3 2 6 4 5 0 5 3t7t2002            gt1t2o03"9/30/2003       I0001- T o t a l C h a r g e s                            $ 3 , 5 6 28 0     $3 , 5 6 2 . 8 0   30.    30
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1 1 0 3 3 62 0 0 3 2 0 3 3 0 8 0 0 6 7 5 6 0 5 3t7t20o2l 10t112003         10/31/2003        0001- T o t a l C h a r g e s                           $ 3 , 7 6 15 4     $ 3 , 7 6 1.s 4    31     31
11 0 3 3 72 0 0 3 2 0 3 3 3 8 0 0 6 9 2 5 0 5 3t7t2002 11t1t2OO311/30/20030651 - H o s p i c e / R o u t i n ei l o m e C a r e
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1 1 0 3 3 82 0 0 3 2 0 3 3 3 8 0 0 6 9 2 5 0 5 3t7t2OO2 1 1 t I / 2 0 0 311 / 3 0 / 2 0 0030 0 1- T o t a lC h a r g e s
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1 1 0 3 3 92 0 0 3 2 0 4 0 0 5 0 0 5 9 8 8 0 5 3t7t2oo2 12/1t200312t31t2003'                 0651- H o s p i c e / R o u t i n eH o m e C a r e      $ 3 , 7 6 15 4     $ 3 , 7 6 15 4     31     JI
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1 10341 2004 20403!,02278505                            3t7t2002 1t1t2004 1 / 3 1 / 2 0 0046 5 1- H o s p i c e / R o u t i n el l o n r e C a r e   $ 3 , 7 G 15 4     $ 3 , 7 6 15 4     31     31
r r 0 3 4 2 2 0 0 4 2 0 4 0 3 5 0 2 2 7 8 5 0 5 3t7t2002          1t1t2004,1/31/2004         0001- T o t a l C h a r g e s                           $3,761.54          $3,761.54          31,    31
11 0 3 4 3 2 0 0 4 2 0 4 0 6 4 0 ' 1 6 2 2 0 0 5 3t7t2002 2t1t2004 2t29t2oo40651- H o s p i c e / R o u t i n eH o m e C a r e
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11 0 3 4 4 2 0 0 4 2 0 4 0 6 4 0 1 6 2 2 0 0 5 3t7t2002 2t1t2004 2t29t20o41                  ooo1- T o l a l C h a r g e s                           $ 3 , 5 1 88 6     $ 3 , 5 1 88 6     29     ?9
11 0 3 4 5 2 0 0 4 2 0 4 0 9 7 0 0 8 9 5 4 0 5 3t7t2002 3t1t2004 3/31/2004i 0651 - H o s p i c e / R o u t i n eH o m e C a r e
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1 r 0 3 4 6 2 0 0 4 2 0 4 0 9 7 0 0 8 9 5 4 0 5 3t7t2002', 3t1t2004 3/31/2004                0001- T o t a l C h a r g e s                           $ 3 , 7 6 15 4     $3,761.54          31     31
| 1 0 3 4 7 2 o O 4 2 0 41 2 5 0 0 7 9 8 6 0 5 3t7t2002           4t1t2004 4/30/20040651- H o s p i c e / R o u t a nHeo m e C a r e                 $ 3 , 6 4 02 0     $3,640.20          30     30
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11 0 3 5 12 0 0 4 2 0 4 1 9 7 0 3 0 6 0 4 0 5 3r7t2002 6t1t2oo4 6/30/2004                    0651- H o s p i c e / R o u t i n eH o m e C a r e      $ 3 . 6 4 02 0     $ 3 , 6 4 02 0     30     30
1 10 3 5 2 2 0 0 4 2 0 4 19 7 0 3 0 6 0 4 0 5 3t7t2002 6t1t2oo4 6/30/2004                    OOO1  - TotalCharges                                    $ 3 , 6 4 02 0     $ 3 , 6 4 02 0      0      0
1 1 r ) 3 5 32 0 0 4 2 0 4 2 1 . < t 0 4 7 7 4 2 0 5317t2002 7/112004 7 t31t20040651 H o s p i c e / R o u t i n e               Home Care           s3 761 54          $ 3 , 7 6 15 4     31     31
1 10354 2004 204?1904774205                             3t7t2002 7 t1t2004, 7t31t2o}40657- H o s p i c e / P h y s i c r aSr re r v r c e s               $91.29             $91 29         1          1
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1 3 4 5 0 02 0 0 2 2 0 2 0 3 8 0 0 5 1 4 3 0 5 1t27t2o\2 1t27t2o}2 1t31t2002'0657                  - H o s p i c e / P h y s i c i aS
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 13 4 5 0 7 ?.0022 0 2 1 2 3 0 0 8 1 6 8 0 51r27                                  /2002 4/1t2002 4t30t2002 0001 - T o t a l C h a r g e s                                              $ 3 , 4 7 43 0     $ 3 . 4 7 43 0     30
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 13 4 5 0 9 2002 2 0 2 1 5 6 0 0 6 4 1 3 0 5 1t27t2002 5t1t2002 5t31t2002                                                   0001- T o t a l C h a r g e s                              $ 3 , 5 9 01 1     $3,590.11          31     31
1 3 4 5 1 02002 2 0 2 18 6 0 0 7 3 8 .015 1t27                                    t2oo2 6t1t2002 6i3o/2002;0651                       - H o s p i c e / R o u t i n eH o m e C a r e   $ 3 , 4 7 43 0     $3,474.30          30     30
1 3 4 5 '11 2002 2 0 2 1 8 6 0 0 7 3 8 1 0 5 1t27                                /2002i 6t1t2oo2 6/30/2002                  0001- T o t a l C h a r g e s                              $ 3 . 4 7 43 0     $3,47430           30     30
1 3 4 5 1 2 2002 2 0 2 2 1 7 0 1 1 0 8 G 0 51t27t2002 7t1/2002 7t31t20020651- H o s p i c e / R o u t i n eH o m e C a r e
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                    ?002 2 0 2 2 1 70 1 1 0 8 6 0 5 1t27t2002 7t1t2002 7t31t20020001. T o t a lC h a r g e s                                                                           s 3 , 5 9 01 1     $ 3 , 5 9 01 1     31
1 3 4 5 1 42002 20224801445505 1t27t2002 Bt1t20o2 8t31r2o}20651- H o s p i c e / R o u t i n e                                                                       Home Care         $ 3 , 5 9 01 1     $3,590.1           JI     JI
1 3 4 i r 1 52002 202? 4801445505 1t27t2002' 8t1t2oo2 8t31t2002'OOO1                                                                  , TotalCharges                                   $ 3 , 5 9 01 1     $ 3 . 5 9 01 1     31     31
 | l 1 4 5 1 {?_o0)   l           2 0 ?2 t t t ] O / 5 4 3 O ! t 1t27t2002 9/1t2002 9/30/2002                               0651- I l o s p i c e / R o u t i r l eH o r n e C a r e   $ 3 . 4 7 43 0     $ 3 , 4 7 43 0     30
13 4 5 17 2002 2027.7600754305 1t27                                              t?002 911120029/30/2002                    0001- T o t a l C h a r g e s                              s3,474.30          $3,47430           30
1 3 4 5 1 82002 2 0 2 310 0 10 0 210 5                                      1t27 t2oo2 1ot1r2oo2         10t31t20020651- H o s p i c e / R o u t i n eH o m e C a r e                  $3,681.56          $3,681.56          31     31
13 4 5 19 2002 2 0 2 310 0 10 0 210 5                                       1t27 t2oo2. 10t1t2oo2,       1 0 / 3 1 / 2 0 0020 0 1- T o t a l C h a r g e s                             $ 3 . 6 8 1s 6     $ 3 , 6 8 1s 6     31     3'l
13 4 5 2 0 ?001,2 0 2 3 3 9 010 77 9 0 5 1t?.7                                    t2002 11 / 1t 2 0 0 21 1 / 3 0 / 2 0 0026 5 1, H o s p i c e / R o U t r nHe o m e C a r e           $r,56280           s 3 , 5 6 2B 0     30
1 i l 4 5 2 1?00? 2 0 2 3 3 9 0 10 7 7 9 0 I r 1t27                              t2oo2 1 1 t 1 t 2 0 012t/30/20020001, T o t a l C h a r g e s                                         $ 3 , s 6 28 0     $ 3 , 5 6 28 0     30
1 3 4 ! t 2 22002 2 0 3 0 0 6 0 0 9 9 6 2 0 5 1t27t2002 12t1/200212t31t20020651- H o s p i c e / R o u t i n eH o m e C a r e
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13 4 5 2 3 2002 2 0 3 0 0 6 0 0 9 9 6 2 0 5 1t27t2o}2 12t1t200212t31t2o}zjOOOI                                                        - TotalCharges                                   $ 3 , 6 8 15 6     $ 3 , 6 8 1. 5 6   31     31
134524 2 0 0 32 0 3 0 3 7 0 0                              1 5 110 5 1t27        t2Q02 1t1t2003 1 / 3 1 / 2 0 0036 5 1- H o s p i c e / R o u t i n eH o m e C a r e                   $ 3 , 6 8 15 6     $ 3 , 6 8 1s 6     2l
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13 4 5 2 5 2003 2 0 3 0 3 7 0 1 0 5110 5 1t27                                    t?OO2 1t1t2oo3:1 / 3 1 / 2 0 0030 0 1- T o t a l C h a r g e s                                        $ 3 , 6 8 15 6     $3,681.56          31     3'r
r 3 4 5 2 6 ? 0 ( ) 32 0 : 1 0r(5 0 0 87 6 8 05                             1t?7/?.0O2 2-/1/20032t?B/20030651 t l o s p r c e / R o u t i r ' It cl o n t c ( l a rc                   $ 3 , 3 2 52 B     $ 3 , 3 2 52 B     28     2.8
1 , \ 4 5 ?r ' 2 0 0 3 2 0 3 0 6 5 0 0 8 7 6 8 0 5 1/27                          /2002 2/1t2003 2t28t20030001 T o t a l C h a r g e s                                                  $ 3 , 3 2 52 B     $ 3 , 3 2 s2 8     2B     2A
134528 2 0 0 32 0 3 0 9 3 0 0 9 3 010 5                                     1t27t2002 3t1t2oo3l3/31/2003                    0651- H o s p i c e / R o u t i n eH o m e C a r e         $ 3 . 6 8 15 6     $3.681.56          31     31
13 45 2 9 2 0 0 32 0 3 0 9 3 0 0 9 3 010 5 1t27                                  t2oo2 3 l 1 t ? 0 0 3 3/31/2003
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13 4 5 3 0 2003 2 0 3 12 5 0 0 9 4 9 5 0 5 1t27t2002 4t1t2003.4 / 3 0 1 2 0 0 30 6 5 1 - H o s p i c e / R o u t i n e                                               Home Care         s 3 , 5 6 28 0     $ 3 , 5 6 28 0     30     30
13 4 5 3 1 2003 2 0 3 12 5 0 0 9 4 9 5 0 5 1t27t2002 4t1t2003 4 / 3 0 / 2 0 0 3 0 6 5 7 , H o s p i c e / P h y s i c i aS                                             nervices                                                          ,l
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13 4 5 3 2 2003 2 0 3 12 5 0 0 9 4 9 5 0 5 1t27t20021\ 4t1t2003"4 / 3 0 / 2 0 0 3 0 0 0 1 - T o t a l C h a r g e s
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13 4 5 3 3 2003 203 1s700960905 1t27t2002 511                                                  /2003l 5 / 3 1 / 2 0 0 3 0 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e         $3,681.s6          $3,681.56          31     31
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13 4 5 3 5 2003 2 0 3 1 8 8 0 1 0 2 5 6 0 5 1t27t2002 611t2003 6 / 3 0 / 2 0 0 3 0 6 5 1 - H o s p i c e / R o u t i n e                                             Home Care         $ 3 , 5 6 28 0     $ 3 , 5 6 28 0     30     30
13 4 5 3 6 2003 2 0 3 18 8 0 10 2 5 6 0 5 1t27t2002: 6/'ll2003                                          i 6 / 3 0 / 2 0 0 30 0 0 1 - T o t a l C h a r g e s
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13 4 5 3 7 2003 2 0 3 2 ' 1                      8 0 0 8 6 9 6 0 5 1t27t2002' t1t200317 / 3 1 / 2 0 0 3 . 0 6 5 1- H o s p i c e / R o u t i n e                     Home Care         s3,681.56          $3,681.56                 JI
13 4 5 3 8 2003 2 0 3 218 0 0 8 6 9 6 0 5 1t27t2002 7t1t2oo3' 7 / 3 1 / 2 0 0 30 0 0 1 - T o t a l C h a r g e s
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13 4 5 3 9 2003 2 0 3 2 4 7 0 0 8 9 6 0                              15     1t27t2002j 8t1t2oo3 8 / 3 1 / 2 0 0 3 0 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e               $ 3 , 6 8 15 6     $3,681.56          31     31
13 4 5 4 0 2 0 0 32 0 3 2 4 7 0 0 8 9 610 5 1t27t2002 8/1t2003 8 / 3 1 / 2 0 0 3 0 0 0 1 - T o t a l C h a r g e s
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13 4 5 4 3 2003 2 0 3 3 0 8 0 0 7115 0 5 1t27t2002,10t1t2003                                             1 0 / 3 1 / 2 0 0 3 - 0 6 5 1- H o s p r c e / R o u t i n He ome Care
1 3 4 5 4 4 2 0 0 32 0 3 3 0 8 0 0 71 15 0 5 1r27t2002 1ot1/2003'
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13 4 5 4 5 2003 2 0 3 3 3 8 0 0 7 2 8 4 0 5 1t27
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13 4 5 4 6 2 0 0 32 0 3 3 3 8 0 0 7 2 8 4 0 5 1t27
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13 4 5 4 8 2003 2 0 4 0 0 5 0 0 6 3 3 3 0 5 1t27t2002 12t1t2003
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13 4 5 4 9 2004 20403502292705                                              1t27t2002 1 t 1 t 2 4 0 4 ,                                                                                $ 3 . 7 6 15 4     $3,761.54          31     31
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134552 2004 2 0 4 0 6 5 0 7                               1 13 7 0 5 1 t 2 7     t 2 0 0 2 2t1t2004                                                                                    s 3 , 5 1 88 6     $ 3 . 5 1 88 6     2S
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13 4 5 5 4 20 r ) 42 0 4 0 9 7 0 0 9 4 7 8 0 5 1t27                              /2002 3/1t2004                                                                                        $ 3 . 7 6 15 4     $ 3 . 7 6 15 4     31     31
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                                                                                                0656- l l o s p r c e / G e n e r aIln p a t t e n C    l a r e ( N o r tr e s p r t e )   $ 1 , 6 1460     $1,616.40           3
13 4 5 5 7 7 0 0 4 ? o 4 l 2 5 0 0 8 5 4 'O    t i r 1t27t2002 4t1t2004      | 4t30t200410657          - l l o s p i c e / P h y s i c i a nS e r v r c e s
                                                                                                                                                                                             $ 1 6 49 1       $164.91           1      1
13 4 5 5 8 2 0 0 4 2 0 4 . t 2 5 0 0 8 5 4 1 0 5 1t27t2002 4t1t2004.4/30/20040657- H o s p i c e / P h y s i c i a S                        n ervices                                          s35.08           $3508           1      1
13 4 5 5 9 2004 20412500854105 1t27                      t2oo2: 4t1t2004 4t30t200410657                - H o s p i c e / P h y s i c i aS   n ervices                                          $58.29           $58.29          1      1
13 4 5 6 0 2 0 0 4 2 0 4 1 2 5 0 0 8 5 4 1 0 5 ' 1t27t2002' 4t1t2004 4/30/2004                 0001- T o t a l C h a r g e s                                                               s s , 15 0 8 6   $ 5 , 1s 0 8 6     33     33
1 3 4 5 6 12 0 0 4 2 0 4 1 1 - 1 5 0 0 B 9 5 0 0 5   1t27t2002 s t 1 t 2 0 0 45/31/200410651
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13 4 5 6 2 2 0 0 4 2 0 4 1 5 5 0 0 8 9 5 0 0 5 1t27t2002 st1t2004 5/31/2004                    0001- T o t a l C h a r g e s                                                               $ 3 , 7 6 15 4   $3,761.54          31     31
13 4 5 6 3 2 0 0 4 2 0 4 1 9 7 0 3 1 0      11 0 5 1t2712002 6t1t2004 6/30/2004                0651- H o s p i c e / R o u t i n eH o m e C a r e                                          s 3 , 6 4 02 0   $3,640.20          30     30
13 4 5 6 4 2 0 0 4 2 0 419 7 0 3 10 1 10 s           1t27t2002 6t1t2004.6/30/20040001- T o t a l C h a r g e s                                                                             $ 3 , 6 4 02 0   $3,640.20           0      0
13 4 5 6 5 2004 2042190481S305 1 t 2 7 t 2 o o 2 l711120047t31tzo}4l0651- H o s p i c e / R o u t i n eH o m e C a r e
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13 4 5 6 6 2 0 0 4 2 0 4 2 1 9 0 4 8 1 9 3 0 5 1t27t2002 7 1 1 t 2 0 0 47t31t2oo4 .             oOOl- T o t a l C h a r g e s                                                              $3,761.54        $3,761.54           0      0
134567 2004 20425100491805i 1t27t2002 8t1t2004 8/31/2004                                        065'l- H o s p i c e / R o u t i n eH o m e C a r e                                        $3,761.54        $ 3 , 7 6 15 4     31     31
13 4 5 6 8 2 o o 4 2 0 4 2 s 1 0 0 4 9 1 8 0 5 1t27t2002 8t1t2oo4            , 8/31/2004,0657          - H o s p i c e / P h y s i c i aS   n ervices                                                                                      .l
                                                                                                                                                                                             $'123 67         $1 2 3 . 6 7      1
13 4 5 6 9 2004 20425100491805 112712002                     t 8t1t2004.8/31/2004I0001- T o t a l C h a r g e s                                                                            s3,885.21        $3,885.21           0
13 4 5 7 0 2 O O 4 2 0 4 2 8 1 0 1 7 8 5 1 0 5 1t27t2002 9t1t2004 9/30/2004                    0651- H o s p i c e / R o u t i n eH o m e C a r e                                          s 3 , 6 4 02 0   $3,640.20          30
13 4 5 7 1 2 o o 4 2 0 4 2 8 1 0 1 7 8 5 1 0 5 1t27t2002 911t20049/30/20040001- T o t a l C h a r g e s
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14 7 0 3 6 2 0 0 0 2 0 0 3 4 0 0 0 8 3 9 s 0 5 11/6/2000 11t6t2o)O            11 / 3 0 / 2 0 0 0 . 0 6-5l -1l o s p i c e / R o u t i nHe o m e C a r e                                    52,70425         $2,704.25          25
147037 2 0 0 0 2 0 0 3 4 0 0 0 8 3 9 5 0 5 11t6t2000 11r6t2000,               11/30/2000        0657- H o s p i c e / P h y s i c i aS      n ervices
                                                                                              '000                                                                                           $131.86          $126.70           1
14 7 0 3 8 2 0 0 0 2 0 0 3 4 0 0 0 8 3 9 s 0 5 11/6/2000 11/6/200011/30/2oOO 1 - T o t a l C h a r g e s
                                                                                                                                                                                           s2,836.11        $2,830.95          26
14 7 0 3 9 2 0 0 0 2 0 1 0 0 4 0 0 7 5 3 1 0 s 11t6t2000 12t1t2000            12/31/2000i 0651- Hospice/Routinel'lome Care                                                                 s2,596.08        $2,59608                   24
14 70 4 0 2 0 0 0 2 0 1 0 0 4 0 0 7 5 3 1 0 5 l l letl2OO01 2 / 1 t 2 0 012t31t2000
                                                                               0                0G52- t l o s p i c e i c o n t i n u o u sH o m e C a r e                                 s3.842     1G    $3,842     16      146    146
1 4 7 0 4 12 0 0 0 2 0 1 0 0 4 0 0 7 5 3 1 0 5 1 1 t 6 t 2 0 0 01 2 t 1 t 2 Q Q 0
                                                                              12t31\TOOA        0657' H o s p i c e / P h y s i c i aS      n ervrces                                        s 3 2 B3 8       $ 3 1 59 4         2      2
1 4 7 0 4 2 2 0 0 02 0 1 0 0 4 0 0 7 5 3 1 011t6t2000s          12t1t200012t31t2000OOO|- T o t a l C h a r g e s                                                                           $ 6 , 7 6 57 2   s6.7s3.28                 172
14 7 0 4 3 2001 2010360087740511/6/2000 1 t 1 t 2 0 0 11 / 3 1 / 2 0 0016 5 1- H o s p i c e / R o u t i n eH o m e C a r e
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147044 2 0 0 12 0 1 0 3 6 0 0 8 7 7 4 0151/6/2000 1t1t2oo1:1 / 3 1 / 2 0 0016 5 7- H o s p i c e / P h y s i c i a n
                                                                                                                                            Services                                         $ 1 8 07 2       $180.72           1          1
1 4 7 0 4 5 2001 2010360087740511t6t2000 1t1t2001 1 / 3 1 / 2 0 0 1                                    -
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14 7 0 4 6 2001 2010640072660511/6/2000 2t1t2001 2t28t20010651- H o s p i c e / R o u t i n eH o m e C a r e
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147047 2001 2010640072660511t6r20oo 2t1t2001:2t28t20010001- T o t a l C h a r g e s
                                                                                                                                                                                           $3,028.76        $3,02876           28     28
1 4 7 0 4 8 2001 2010940096600511t6t2o}O 3t1t2001 3/31/2001                                    0651- H o s p i c e / R o u t i n eH o m e C a r e                                          $ 3 , 3 5 32 7   $3,3s3.27          31     31
1 4 7 0 4 9 2 0 0 12 0 1 0 9 4 0 0 9 6 6 0 011t6t2o}O5'          3t1t2001 3 / 3 1 / 2 0 0010 0 1- T o t a l C h a r g e s                                                                  $ 3 , 3 5 23 7   $ 3 . 3 5 32 7     31
14 7 0 5 0 2001 2011240093350511t6t2oOO 4t1t2001 4/30/2001                                     0651- H o s p i c e / R o u t i n eH o m e C a r e                                          $ 3 , 4 0 71 0   $ 3 , 4 0 71 0     30
14 7 0 51 2001 ?011240093350511t6t2O0o 4t1t2001 4/30/2001                                       0001- T o i a l C h a r g e s                                                              $ 3 , 4 0 710    $3.407.10          30     30
147052 2001 2011560072060511/6/2000 5/1t2001 s/31/2001                                        i0651- H o s p i c e / R o u t i n eH o m e C a r e                                          s 3 , 5 2 06 7   $3,520.67          3 1.   31
14 7 0 5 3 2 0 0 12 0 1 1 5 6 0 0 7 2 0 6 011t6r2o}O 5           5t1t2001 5t31t2o}1l0657              - H o s p i c e / P h y s i c i aS    n ervices                                        $ 1 8 07 2       $180.72           1      1
14 70 5 4 2oo1 2011560072060511t6t20OO 511t20015 / 3 1 / 2 0 0010 0 1- T o t a l C h a r g e s
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14 7 0 5 5 2 0 0 12 0 1 1 8 4 0 0 7 2 3 6 0151/6/2000 6t1t2001 6/30/2001                       0651- H o s p r c e / R o u t i n fei o m e C a r e                                         s3.407     10    $3,407     10      30     30
14 / 0 5 f ) ? o o 1 2 0 1 1 8 4 0 0 7 2 3 6 0151t6t2000 6/1/20A1 6/30/2001                    0001 T o t a lC h a r g e s                                                                 s 3 . 4 0 71 0   s 3 , 4 0 71 0     30     30
1 4 7 0 5 7 2001 2012150071570511t6t2000 7t1120017t3112001                                      0651- H o s p i c e / R o u t i n eH o m e C a r e
14 7 0 5 8 2 0 0 12 0 1 2 1 5 0 0 7 1 5 7 011         5/6/2000 7 t1t2001 7 t31t20010657- H o s p i c e / P h y s i c i a S
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14 7 0 6 0 2 0 0 12 0 1 2 4 8 0 1 2 8 5 0 011t6t2000 5           Bl1tzool B / 3 1 / 2 0 0016 5 1- H o s p i c e / R o u t i n eH o m e C a r e                                             s 3 , s 2 06 7   $ 3 , 5 2 06 7     31     3.1
1 4 7 0 6 ' l2 0 0 12 0 1 2 4 8 0 1 2 8 5 0 011t6t2OO0
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147062 2001 2012480128500511/6/2000 8t1t2001 8 / 3 1 / 2 0 001o O 1- T o t a l C h a r g e s
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14 7 0 6 3 2 0 0 12 0 1 2 7 6 0 0 6 6 1 7 01116t2000 5           9t1t2001 9/30/20010651- H o s p i c e / R o u t i n eH o m e C a r e                                                      $ 3 , 4 0 710    $3,407.10          30     30
147064 2 0 0 12 0 1 2 7 6 0 0 6 6 1 7 0 11t6t20oo    5           gt1t2oo1 9/30/2001            0001- T o t a l C h a r g e s                                                               $3.407     10    $3,407.10          30     30
14 7 0 6 5 2 0 0 12 0 13 0 9 0 0 7 3 0 9 0 511/6t2000 1011t2001               1 0 / 3 1 / 2 0 0016 5 1- H o s p i c e / R o u t i n eH o m e C a r e                                       $3.591     01    (a   (on   11      .tl    3.1
14 7 0 6 6 2001 20130s0073090511/6/2000 10t1t2001                             1 0 / 3 1 / 2 0 0010 0 1 T o l a lC h a r g e s                                                              $3.591     01    $ 3 . 5 S 01 1     .Jl    31
14 7 0 6 7 2 0 0 12 0 r 3 3 9 0 0 7 3 1 5 011t6t2000  5         11t1t200111 / 3 0 / 2 0 0016 5 1 H o s p i c e / R o u t i n eH o m e C a r e                                              s3.473     40    $ 3 . 47 4 . 3 0   30     30
14 70 6 8 2001-.20          r 3390073     I 505 11/6/2000 't1t1t200111/30/20010657                                                         Servrces                                          $ 1 8 07 2       $ 1 8 07 2        1      1
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1470712001 2020040077200511/6/2000 12ht200112t31t2OO1                                                               O0O.l   -TotatCharges                                    $3,590     11    $ 3 , 5 9 01 ' l     JI     31
147072?002 20203600922505                             . llt'tzoooi 1t1t2o02i1t31t2oo?10651,                                 - Hospice/Routine         Homecare               $3.591     01    $3,590.1             31     JI
1470732002 2020360092250511/6/2000 it1t2OO2 1t31|t2OO2                                                              OOOI-TotatCharges                                        $3,590     11    $ 3 , 5 9 01 1       31     3'r
147074.2002              20206400709005 11t't2ooo ztit20o2 2l2}t2oo2 o6s1- Hospice/Routine                                                            Homecare               $ 3 , 2 4 26 8   $3,242.68            28,
1470752002 202064007090051'l16/2000 2t1t2OO22t28t2OO2                                                                       -
                                                                                                                  .OOO1TotatCharges                                          s 3 , 2 4 26 8   $3,242.68            28:.
1470762002 202094010735051116t2000 3t1t2002 3t31tzoo2065't- Hospice/Routine                                                                           Homecare               s3,590     11    $3,590.1             31     31
1 4 i 0 7 1? 0 0 22 0 2 0 ( ) 4 0 1 0 7 3 5 01i1r ./ 6 / 2 0 0 0 3 t i 1 2 0 0 2 3 t 3 1 t 2 O O                    020 0 . 1T o t a Ct harges                               s3,590     11    $ 3 , 5 9 01 1       31     .1 |
1470182002 2021230079s80511/6/2000 4t1tzoo2 4/30/20020651 Hospice/Routine                                                                             Homecare               $ 3 , 4 7 43 0   $ 3 , 4 7 43 0       30,
1470792002 2021230079980511t6t2o}O 4t1t2o)2 4t3o/2002i0001                                                                  - Totatcharqes                                   $ 3 , 4 7 43 0   $ 3 , 4 7 43 0       30
1470802002 20215c006246051'116/2000 5/1t2002 st31t2o02o6s1 Hosoice/RJutrne                                                                            Homecarc               $3,591     01    $3,590.11            31     JI
1470812002 202I 5600624605 11/6/2000 5nt2oo2 5/31/2002                                                                      -
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1470822002 202186007193051ltotzooo 6tit20o2 6/30/20020651- Hospice/Routine                                                                            Homecare               $ 3 , 4 7 43 0   $3,47430             30,    30
147083,20022 0 2 1 8 6 0 0 7 1 9 3 0151 / 6 / 2 0 0 0 6 t 1 t 2 O O 6                              2 / 3 0 / 2 0 0020 0 1- T o t a t C h a r g e s                           $ 3 , 4 7 43 0   $3,47430             3oj    30
1470842002 2 0 2 2 1 7 0 1 0 8 9 9 0151 / 6 / 2 0 0 0 7 t i t z 0 0 2 .7 t 3 1 t 2 0 0026 5 1- H o s p i c e / R o u tH                                i noem ec a r e       s3,590     11    $ 3 . s 9 01 1       31     31
1470852OO220221701085905'                                  11t6t2O0O 7t1t2002 7/31t2O02i0657,                                 Hospice/physician           Services              $ 1 7 64 6       $176.46              1         1
1470862002 2 0 2 2 1 7 0 1 0 8 9 9 0151 t G t 2 j O O7 t 1 t 2 O O 27 t 3 1 t 2 O OO2O O- IT o t a C                                  l harges                               $ 3 , 7 6 65 7   $3,766.57            1a
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1470872002 2022480142510511/6/2000 8t1t2002 Bt3it2oo20651- Hospice/Routine                                                                            Homecare               $ 3 , 5 9 01. 1  $3.590.1             31     31
1470882002 202248014251051 t/6/2000 8t1t2002t,8/31/20020001- Totatcharges
                                                          't                                                                                                                 $3,590     11    $3,590.1             31     31
1470852002 20227600734505i1/6/2000 gt1t2002 9/30/2002:0651                                                                  - Hospice/Routine         Homecare               s 3 . 4 7 43 0   $3,47430             30
1410tto2002 2o221co07i450511ttt2ooo g'i/2002 9/i0/2002065; Hospice/physrcran                                                                              ggryr6gg              $ 1 7 04 G       s 1 7 64 6           1         1
1 4 i O t \2 0 0 ?2072r-600734505                          11/0/2000              gti\ZOOZ         9/30/2002        0001 TotatCharges                                        s 3 , G 5706     $3,650.76            3  1   31
1470922OO22023100098190511t6t20oo 1ot1t2oo2                                                      t0/31/200210651            - Hospice/Routine         Homecare               s 3 , 6 8 15 6   $3,681.56            31     31
1 4i 0 s 3 2 0 0 22 0 2 3 1 0 0 0 9 8 1 t ) 0151 / G / 2 0 0 01 O t 1 t 2 O O 2 , 1 0 / 3 1 / 2 0 0 2- 1                       0 0   0
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1470952002 2023390105830511/6/2000 11t1t20ozi1t3ot2oo2o6s7- Hosprce/physician                                                                             services              $ 13 8 9 4      $ 13 8 . 9 4          1    1
1470962002 2023390'1058305                                  1it6t2OOO11t1t2OO2                   llt3Ot2OOZlOOOl            - TotalCharges                                   $ 3 , 7 0 17 4   $3,701.74            JI     31
1470972002 2030060097720511/6/2000 12t1t2oo2:                                                    12B1t2oo2lo6s1             - Hospic.e/Routine        Homecare               $3,681.56        $ 3 , 6 8 15 6       31     31
1470982002 2030060097720511/6/2000 1211|ZOO2                                                     12t3it2}O20001- TotatCharoes                                                $3.681.56        $3,681.56            3l.    31
r 4 7 0 9 92 0 0 32 0 3 0 3 7 0 1 0 3 2 2 0151 / 6 / 2 0 0 0 1 t 1 t 2 o o 31 / 3 1 / 2 0 0036 5 1- H o s p i c e / R J u tH                          i noem ec a r e        $ 3 . 6 8 1s 6   $ 3 , 6 8 1. 5 6     31     31
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                           03                               11t]/2ooo 2titzoo3 2tz}Izoo3,o6si- Hosprce/RJutrne                                        Homecare               s3,325     28    $ 3 , 3 2 52 8       28.
1471022003 2030650085660511t6t2OOO2t1tZ0O32t2Bt2OO3                                                                 OOOI    - TotatCharges                                   $ 3 , 3 2 52 8   $ 3 . 3 2 52 8       28
1 4 7 1 0 23 0 0 32030930091160511t6t20oo 3t1t2oo3 3/31/20031065'l                                                          - Hospice/Rouline         tJomecare              $ 3 , 6 8 1s 6   $ 3 , 6 8 15 6       31     3'r
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1 4 7 1 0 92 0 0 3 2031S801005505                                                                  6/30/2003;0651           - Hospice/Routine         Homecare               $ 3 , 5 6 2B 0   $3,562.80            30
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1 4 7 1 1 22 0 0 3 20.r21800848405                        11/6/2000 7t1t2oo3 zt31/2oo30657 Hospice/phvsicran                                              Servrces              s 1 1 63 7      $ 11 6 3 7            1         1
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1 4 7 1 1 52 0 0 3 2 0 3 2 4 l 0 0 8 7 3 6 0 5 1 1 / 6 / 2 0 0 0 8 i t / 2 0 0 3 8 / 3 1 / 2 0 0 30 O O 1- T o t a t C h a r q e s
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14711G        2 0 0 . 12 O i z/ ( t n j ? 7 4 7 0 5 11 / 6 / 2 0 0 0 0 i 1 / 2 0 0 3 9 / 3 0 / 2 0 0 3 0 6 5 1 H o s p r c c / R J u t r n H          e omeCare              s 3 5 6 28 0     $ 3 , 5 6 28 0       30     30
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1 4 7 1 2 1 2 0 0 3 2 0 3 3 3 8 0 0 7 0 2 8 0 5 11t6t2o}O 11t1tzo}3l                                 1 1 1 3 0 1 2 0 0 03 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e          s3,64020           $ 3 , 6 4 02 0     30
1 4 7 1 2 2 2 0 0 3 2 0 3 3 3 8 0 0 7 0 2 8 0 5 11 t6t200o:,11t1 t2oo3,i                             1 1 / 3 0 / 2 0 0 30 0 0 1 - T o t a l C h a r g e s                               $3,640.20          $3,640.20          30
147123 2003 2 0 4 0 0 5 0 0 6 0 910 5 11/6/2000.12t1t20031                                           1213112003:.0651            - Hospice/RoutineHome Care
                                                                                                                                                                                        $3,761.54          $3,761.54          31     31
147124 2003 2 0 4 0 0 5 0 0 6 0 910 5 11r6t2000 12t1t20031213112003.0001                                                         - Total Charges
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147125 2004 20403502278205                                           11t6t2000 1t1t2004 1 / 3 1 / 2 0 0 40 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                                                               '11
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1 4 7 1 2 62 0 0 4 20403502278205                                    11l6t2o}O' 1t1t2004 1 1 3 1 1 2 0 0 4 , 0 0 0-1T o t a l C h a r g e s                                             $3,761.54          $3,761.54          JI     ?l
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1 4 7 1 2 8 2 0 0 4 2 0 4 0 6 5 0 16 9 4 10 5 11/6/2000 2t1t2004 2 l 2 9 l 2 O O 4                                               -
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1 4 7 1 3 1 2 0 0 4 2 0 4 1 2 5 0 0 8 1 1 8 0 51116t2000 4t1t2004 4 1 3 0 1 2 0 0 0                                     46 5 1 - H o s p i c e / R o u t i n e  Home Care               $3,64020           $3,640.20          30
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1 4 7 1 3 3 2 0 0 4 2 0 415 5 0 0 8 8 6 10 5 1116t2000 5t1t2004 5 / 3 1 / 2 0 0 4 i 0 6 5 1- H o s p i c e / R o u t i n e                                      Home Care               $ 3 , 7 6 15 4     $3,761.54          31     31
1 4 7 1 3 4 2 0 0 4 2 0 4 1 5 5 0 0 8 8 6 1 0 5 1'116/2000 5t1t2oo4 5 / 3 1 / 2 0 0 4 0 0 0 1 - T o t a l C h a r g e s
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147136                              2 0 4r 1 ) 7 0 3 0 7 3 4 0 5 11t6/2000 6t1t2oo4 6 / 3 0 / 2 0 0 4 0 0 0 1 - T o t a l C h a r g e s
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1 4 7 1 3 82 o O 4 2 0 4 219 0 4 7 8 8 3 0 5 11t6t2000 7 t1t2004 7 1 3 1 1 2 0 0 4                                      0 0 0 ' 1- T o t a l C h a r g e s                              $ 3 , 7 6 15 4     s3,761.54           0
1 4 7 1 3 9 2 0 0 4 20425100462305 11t6t2000 8t1t2004 8 / 3 1 / 2 0 0 4 0 6 5 1 - H o s p i c e / R o u t i n e                                                 Home Care               $ 3 , 7 6 1s 4     $3,761.54          3.1
1 4 ; 14 o : 1 0 0 4l l 0 4 l 5 I 0 0 a G 2 3 0 i r 11 / 6 / 2 0 0 0 8 t 1 t 2 0 0 4B / 3 1 / 2 0 0 40 0 0 1 T o t a lC h a r g e s
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1 4/ 1 4 1 . t 0 0 4 2 0 4 2 9 1 0 1 7 5 4 1 0 51 1 t 6 t 2 A O 0g / 1 t 2 0 0 43 / 3 0 / 2 0 0 4 , 0 6 5 1l,l o s p i c e / R o u t i nfel o n r c C a r e
'147142                                                                                                                                                                                 $ 3 , 6 4 02 0     $ 3 . 6 4 02 0     30
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r 5 B 0 7 32 0 ( r l 2 0 t 7 4 8 0 1 2 6 2 3 0 5 Bt14t2OO1                            Bt14t2OO1t)     8 1 3 1 l 2 O O 01 6 5 7 - H o s p i c e / P h y s i c i a S   r re r v i c e s      $2243?             $224 32          1
15 8 0 7 4 2 0 0 ' l 2Q124801262305 8t14t2001 8t14t2001:l                                             8 1 3 1 l 2 O O 01 0 0 1 - T o t a l C h a r g e s                                $ 2 , 2 6 8s. 8    $2,268.58          19
1 5 8 0 7 52 0 0 1 2 0 12 7 6 0 0 6 s 5 5 0 5 8r14t2001 9/1/2001 9 / 3 0 / 2 0 0 1loosr                                 0 6 5 1 - H o s p i c e / R o u t r n lel o m e C a r e         $ 3 , 4 0 71 0     $3,407.10          30
1 5 8 0 7 62 0 0 1 2 0 12 7 6 0 0 6 5 5 5 0 5 Bt14t2O01 9t1t20O19/30/2001
                                                                                                   | 9 / 3 0 / 2 0 0 1 0 6 5 7 - H o s po i c e / P h yv s i c i aS  n ervices             $ 1 8 07 2         $ 1 8 07 2
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1 5 8 0 7 82 0 0 1 2 0 13 0 9 0 0 7 2 4 3 0 5 8t14t2001 10t1t20o11,                                  1 0 1 3 1 1 2 O O016 5 1 - H o s p i c e / R o u t i n e   Home Care               $ 3 , 5 9 01 1     $ 3 , 5 9 01 1     31     31
1 5 8 0 7 92 0 0 1 2 0 13 0 9 0 0 7 2 4 3 0 s 8t14t2001 10t1t2001i                                   1 0 1 3 1 1 2 0 0 01 0 0 1 - T o t a l C h a r g e s                               $ 3 , 5 9 01 1     $ 3 , 5 9 01 1            31
15 8 0 8 0. 2 0 01 2 0 13 3 9 0 0 7 2 5 2 0 5 8t14t2OO111t1t2OO1i                                    1 1 1 3 0 1 2 0 0016 5 1 - H o s p i c e / R o u t i n eH o m e C a r e            $3,474.30          $3,474.30          30
1 5 8 0 8 12 0 0 ' 12 0 13 3 9 0 0 7 2 5 2 0 5 8t14t2001 11t1t2001                                   1 1 1 3 0 1 2 0 0010 0 1 - T o t a l C h a r g e s                                 $ 3 , 4 7 43 0     $3,474.30          30
1 5 8 0 8 22 0 0 1 2 0 2 0 0 4 0 0 7 6 4 9 0 s 8114t2001 12t112001                                   1 2 1 3 1 1 2 0 0016 5 1 - H o s p i c e / R o u t r n H   e ome Care              $ 3 , 5 9 01 1     $3,590.1           31     31
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1 5 [ ] 0 B 42 0 ( ] 2 2 0 2 1 ) . 1 6 0 0 1 1 1 t i 880 t51 4 1 2 0 0 1 1 / 1 / 2 0 0 21 l 3 1 l 2 O O 20 6 5 1 - H o s p i c e / R o u t i n e                HonreClarc              $ 3 , 5 C 01 1     $ 3 , 5 S 01 1     31     31
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1 5 8 0 8 62 0 0 2 2 0 2 0 6 4 0 0 7 0 1                 9 0 5 8t14t20O1           . 2t1t2O02      t 212812002,0651- Hospice/RoutineHome Care                                           $3,242.68          $3,242.68          28
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15 i i 0 ! f 9 2 u ( ) 2 2 0 1 ' 2 4 8 0 41 1 6 0 0 5 8114t2001 8t112002.                           B/31/2002        0001 I o t a l C h a r g e s                                   s 3 , 5 9 01 1            $3,590     11       31
158 100 2002 20227600725305 8t14t2001 9t1t2002 9/30/2002                                                             065.1 l l o s p r c e / R o u t i n eH o m e C a r e           $ 3 , 4 7 43 0            $3,474.30
1 5 8 1 0 1 2 0 0 2 . 2 0 2 2 7 6 0 0 7 2 5 3 0 5 8t14t2001 9t1t2oo2,9/30/2oO2                                       0oo1- T o t a l C h a r g e s
1 5 8 1 0 2 2 0 0 2 2 0 2 3 1 0 0 0 s 7 2 7 0 5 8114t2oo110r1t2o12i
                                                                                                                                                                                    $3,474.30                 $3,474.30           301
                                                                                                   1o/31/2002        0651- H o s p i c e / R o u t i n eH o m e C a r e             $ 3 , 6 8 15 6            $3,681.56           3 1,     31
1s 8 r 0 3 2 0 0 2 , 2 0 2 3 1 0 0 0 s 7 2 7 0 5 8t14t2oo1 1ot1t2oo2:,                             10t31t20020001- T o t a l C h a r g e s
                                                                                 .                                                                                                  $3,681.56                 $3,681.56           31       31
1 5 8 1 0 42 0 0 2 2 0 2 3 3 S 0 1 0 4 9 4 0 5 Bt14t2001, 11t1t2002't                              11/30/2002i0651         - H o s p i c e / R o u t i n eH o m e C a r e
1 5 8 1 0 52 0 0 2 2 0 2 3 3 9 0 1 0 4 9 4 0 5 8t14t2001 11t1t20O21
                                                                                                                                                                                    $ 3 , s 6 28 0            $3,56280            30r
                                                                                                   11/30/2002      10001- T o l a l C h a r g e s                                   $ 3 , 5 6 28 0            $3,56280            3o
1 5 8 1 0 62 0 0 2 2 0 3 0 0 6 0 0 9 6 7 3 0 5 8t14t2001 12t1t2002                                 12t31t20020651- H o s p i c e / R o u t i n eH o m e C a r e                     $3.681.s6                 s 3 , 6 8 15 6      31       JI
1 5 8 1 0 7 2 0 0 2 2 0 3 0 0 6 0 0 9 6 7 3 0 5 8t14t2001 12t1t2002                                12t31t2002              -
1 5 8 1 0 82 0 0 2 2 0 3 0 0 6 0 0 9 6 7 3 0 5 8 t 1 4 t 2 0 0 11 2 t 1 t 2 o j 212t31t2002                         t0657 H o s p r c e / P h y s i c t aSn e r v t c e s             s 1 2 08 4                $'r20 84           1             1
                                                                                                    '                0001- T o t a l C h a r g e s                                  $3.802     40             $3,802     40
1 s 8 1 0 92 0 0 3 2 0 3 0 3 7 0 1 0 2 1 7 0 5Bt14t2oO1 1t1t2003 1/31/2003                                                                                                                                                        32:      a t

                                                                                                                     065't H o s p r c e / R o u t i n eH o m e C a r e             $3,681.56                 $ 3 , 6 8 1s 6      31
1 5 8 11 0 2 0 0 3 2 0 3 0 3 7 0 1 0 2710 5 8t14t2001 1t|t2oo3 1/31/2003                                             0657- H o s p i c e / P h y s i c i a S n ervices
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                                                                                                                                                                                      $120.84                   $ 1 2 08 4         1        1
1 5 8 11 1 2 0 0 3 2 0 3 0 3 7 0 1 0 2 1 7 0 5 8114t2001 1t1120031 / 3 1 / 2 0 0030 0 1- T o t a l C h a r g e s
                                                                                                                                                                                    $3,802.40                 $3,802.40           32'      32
1 5 8 11 2 2 0 0 3 2 0 3 0 6 5 0 0 8 4 6 1 0 5 8t14t2o}1 2t1t2003 2t28t2003''0651                                          - H o s p i c e / R o u t i n eH o m e C a r e
1 5 8 113 2 0 0 3 2 0 3 0 6 5 0 0 8 4 6 1 0 5 8r14t2001 2t1t2003 2t28t2003oool T o t a l C h a r g e s
                                                                                                                                                                                    $3,325.28                 $3,32528            28       28
'1581                                                                                                                                                                               $ 3 , 3 2 52 B            $ 3 , 3 2 52 B      2B       28
           1 4 2 0 0 3 2 0 3 0 9 3 0 0 9 0 2 1 0 5 8t14t2001 3t1t2003 3/31/2003                                      0651- l J o s p i c e / R o u t i n eH o r r r eC a r e
15 1 t1 15 , ' 0 O . 1? 0 : l O { ) 3 0 0 1 )10025 8 t 1 4 t 2 0 0 1 3 / 1 / ? O O 3
                                                                                                                                                                                    $ 3 , 6 8 ' l5 6          $3,68.1    56       .tt      31
't581                                                                                               3/31/2003        0657 I { o s p r c c / l r l r y s i c r:a, cr }r v r c c s          $ /tI 03                $78.03               I         .l
           1 t i 2 0 0 3 2 0 3 0 9 3 0 0 9 0 2 1 0 5 8t14t2oo1 3t1t2003 3/31/2003                                    0001- T o t a l C h a r g e s
'r
  5 8 117 2 0 0 3 2 0 3 12 5 0 0 9 2 0 9 0 5 8114t2001 4t1t2003.4/30/2003
                                                                                                                                                                                    $ 3 , 7 6 0 .I1           $ 3 , 7 6 01 I      32       32
                                                                                                                     06s1- H o s p i c e / R o u t i n eH o m e C a r e             $3,562.80                 s3,562.80           30       30
1 . 5 8118 2 0 0 3 2 0 3 1 2 5 0 0 9 2 0 9 0 5 8t14t2001 4t1t2003 4/30/2003                                          0001' T o t a l C h a r g e s
l l , l rI l 1 ) . ' ( ) 0 : t; , 0 . 1 1 5 7 0 0 { } 3 2 2 0B5l 1 4 / ? O O 1a \ t 1 t ? O O53/ 3 1 / 2 0 0030 5 1 I l o s p r rn / l l o r r l r r rIc
                                                                                                                                                                                    s 3 . 5 6 28 0            $ 3 , 5 6 28 0      30       30
                                                                                                                                                           lt)ltc ();l('            $ : r r i l l1 l , r ;    $3,681              . |1     :ll
| : , l ir , t 0 , ' ( ) { t . r, ' ( } .IJ5 / 0 o l t . t 2 2 0 5 B l 1 4 t 2 0 0 1 5 / 1 / 2 0 0 35 / 3 1 / 2 0 0030 0 1 I o t a l ( , t l a r g c s                                                                   " (Gl
1 5 8 1 2 12 0 0 3 2 0 3 1 8 8 0 0 9 9 6 2 0 5 8t14t2001 6t112003:6/30/2003
                                                                                                                                                                                    s 3 , 6 8 15 0            $ 3 , 6 8 15        31       31
                                                                                                                     0651- H o s p i c e / R o u t i n eH o m e C a r e             $ 3 , 5 6 28 0            $ 3 , s 6 28 0      301      30
1 5 8 1 2 2 2 0 0 3 2 0 3 1 8 8 0 0 9 9 6 2 0 5 8l14tzOO1 6t1t2oO36/30/2003,000                                          1 - T o t a lC h a r g e s                                 $3 , 5 6 2 . 8 0          $ 3 , 5 6 28 0      30,
1 5 8 1 2 32 0 0 3 2 0 3 2 1 8 0 0 8 3 9 2 0 5 Bt14t2OO1 7tl t2}O3ti7/31/20030651 ' H o s p i c e / R o u t i n eH o n r e
                                                                                                                   i                                                    Care        $3,681.56                 $ 3 , 6 8 1s 6      JI       JI
1 5 8 1 2 4 2 0 0 3 2 0 3 2 1 8 0 0 8 3 9 2 0 5 8t14t2001                        , 7t1t2003t,       7/31/2003I0001 - T o t a l C h a r g e s                                        s3.681.56                 $3,681.56           311      31
1 5 8 1 2 52 0 0 3 2 0 3 2 4 7 0 0 8 6 3 5 0 5 8t14t2001 8t1t2003 8/31/20030651 - H o s p i c e / R o u t i n e
                                                                                                                   I                                      Home Care                 $ 3 , 6 8 15 6            $ 3 , 6 8 15 6      311
1 5 8 1 2 62 0 0 3 2 0 3 2 4 7 0 0 8 6 3 5 0 5 8t14t2001 Arilzooal 8/31/2003                                         0001- T o t a l C h a r g e s                                  $ 3 , 6 B 15 6            $ 3 , 6 8 15 6      31       31
158127 2003 20327903264905                                         8t14t2001 9/1/2003 9/30/2003                      0651- H o s p r c e / R o u t i n eH o m e C a r e             $3,562.80                 s3,562.80           30
1 s8128 2oO3 20327 903264905 8t14t2001 9r1t2003 9/30/2003                                                            0001- T o t a l C h a r g e s
1 s 8 1 2 92 0 0 3 2 0 3 3 0 8 0 0 6 7 6 0 0 5 8t14t2001 10/1/2003
                                                                                                                                                                                                              $ 3 , 5 6 28 0      301      30
                                                                                                   1 0 / 3 1 / 2 0 0036 5 1- H o s p i c e / R o u t i n eH o m e C a r e            $ 3 , 7 6 15 4           $ 3 , 7 6 1s 4      31.
1 5 8 1 3 02 0 0 3 2 0 3 3 0 8 0 0 6 7 6 0 0 5 8t14t2001 10/1/2003                                                                                                                                                                         31
                                                                                                   1 0 / 3 1 / 2 0 0030 0 1- T o t a l C h a r g e s                                 s 3 , 7 6 15 4           $ 3 , 7 6 1s 4
1 5 8 1 3 12 0 0 3 2 0 3 3 3 8 0 0 6 9 2 9 0 5 8t14t2001 11t1t2o}311130/2003                                                                                                                                                      JI       31
                                                                                                                     0651- H o s p i c e / R o u t i n eH o m e C a r e              s 3 , 6 4 02 0           $3.640.20           30r      30
1 5 8 1 3 22 0 0 3 2 0 3 3 3 8 0 0 6 9 2 9 0 5 8t14t2001 11t1t2oo3                                 11/30/2003        0001- T o t a l C h a r g e s
1 5 f i 1 3 32 0 0 3 2 0 4 0 0 5 0 0 5 9 9 3 0 5 8t141200112t1t2o}31213112003
                                                                                                                                                                                     $ 3 , 6 4 02 0           $3,64020            30       30
                                                                                                                     0651' H o s p i c e / R o u t i n eH o m e C a r e              $ 3 , 7 6 15 4           $ 3 , 7 6 15 4      JI       31
1 5 8 1 3 42 0 0 3 2 0 4 0 0 5 0 0 5 9 9 3 0 5 8114t200112t1t2OO3                                  12t31t20030657- H o s p r c e / P h y s r c r aSne r v r c e s
15 8 13 5 , ' n ( i : r 2 r ) 4 0 0 . r ) 0 0 5 9 9 3 0 58t14t2001 12t1t2oo3
                                                                                                                                                                                       $ 1 7 77 7               $ 1 7 77 7             1     1
                                                                                                   1 2 l 3 1 / 2 0 0030 0 1 T o l a lC h a r g e s                                   s 3 , 9 3 93 1           $3,939:11           32
1 5 8 1 3 62 0 0 4 2 0 4 0 3 5 0 2 2 9 9 2 0 5 8t14t2001 1tlt2004 1 / 3 1 / 2 0 0046 5 1- H o s p r c e / R o u t i n e                                                                                                                    3
                                                                                                                                                          Home Care                  $ 3 , 7 6 1s 4           $3,761.54           JI       31
1 5 8 1 3 72 0 0 4 2 0 4 0 3 5 0 2 2 9 9 2 0 5 8t14t2o}1: iluzoon" 1/3't/2004                                        0001- T o t a l C h a r g e s
1 5 8 1 3 82 0 0 4 2 0 4 0 6 4 0 1 6 2 4 1 0 5 8t14t2001 2t1t2004t,
                                                                                                                                                                                     $3,761.54                s 3 , 7 6 15 4      3't      31
                                                                                                    2/29t2004 0651- H o s p i c e / R o u t i n eH o m e C a r e                     s 3 , 5 18 8 6           $3,51 86            29
1i r 8 13 9 2 0 0 4 2 0 4 0 6 4 0 1 6 2 4 1 0 5 8114t2001 2t1t2004 2t2gt20o4oo01 T o t a lC h a r g e s
                                                                                                                                                                                     $ 3 . 5 1 88 6           $ 3 . s I1 8 6      2g
1 5 8 1 4 02 0 0 4 2 0 4 0 9 7 0 0 9 0 0 9 0 5 8t14t2001 3t1t2004 3/31/2004                                          0651- H o s p r c e / R o u t i n eH o m e C a r e
1 5 8 1 4 12 0 0 4 2 0 4 0 9 7 0 0 9 0 0 9 0 5 8t14t2001 3t1r2o}4 3t31t2OO4
                                                                                                                                                                                     $ 2 , 1 8 41 2           s 2 , 1 8 41 2      18
                                                                                                                     0652. H o s p r c e / C o n t r n u o uHso m e C a r e         $ 8 , 4 3 98 6            $ 8 , 4 3 98 6     286
1 5 8 1 4 2 2 0 0 4 2 0 4 0 9 7 0 0 9 0 0 9 0 5 8t14t2001 3t1t2004 3/31/2004                                         0657- H o s p i c e / P h y s r c i aSn e r v r c e s
1 5 8 1 4 32 0 0 4 2 0 4 0 9 7 0 0 S 0 0 9 0 5 8t14t2001 3t1t2004 3r31t20040657 - H o s p i c e / P h y s i c i a n
                                                                                                                                                                                       s123.67                  $ 1 2 36 7         1
                                                                                                                                                             Services                  $ 1 8 05 7               $ 1 8 05 7         1
1 5 1 \ 1 4 4? ( ) O 42 0 4 0 9 7 0 0 9 0 0 9 0 5 8t14t2001 3t1t2o}4 3/31/2004                                       000.1- T o t a l C h a r g e s                                $ 1 0 , 9 2 82 2          s10,922     82      306
1 5 R 1 4 52 ( 1 0 42 0 412 5 0 0 8 3 5 3 0 i r 8t14/2001 4t1t2oo44/30/2004                                          0651 H o s p r c e i R o u t i nHeo n t eC a r e
1 5 e 1 4 62 0 0 4 2 0 4 1 2 5 0 0 8 3 5 3 0 5 8t14t2001 4t1/2004 4/30/2004
                                                                                                                                                                                    $ 3 , 6 4 02 0            $ 3 , 6 4 02 0      30
                                                                                                                     0001 T o t a l C h a r g e s                                   $ 3 , 6 4 02 0            $ 3 . 6 4 02 0      30
15 8 14 7 2 0 0 4 2 0 4 1 5 5 0 0 8 4 3 7 t ) 5Bt14t20o1 5t1t2oo4 5 i 3 1 1 2 0 0046 5 1                                                  / R o u t i n eH o m e C a r e            s 3 , 7 6 15 4            $ 3 , 7 6 15 4      31
                                    Case 1:04-cv-21431-AJ Document 63-4 Entered on FLSD Dockets 301/11/2007
 I 5 r I r4 l t 2 0 ( ) 4 z o r l . ; , . , 0 0 1 , at-r.i ri                                                  Page
                                                                                                                 6 15 4 16 of322
                                                               t\t14t2001 5/112004 5 / 3 1 / 2 0 0040 0 1, 1 o l a l C h a r g e s
                                                                                                 . 7 6 15 4 $3,7              1
1 5 8 1 4 32 0 0 4 2 0 4 1 9 i 0 3 0 6 0 8 0 5 8t14t2001 6t1t2004 6/30/2004                               0651- H o s p r c e / R o u t t n H  e o n t eC a r e         $ 3 , 6 4 02 0       $3,64020         30
1 5 8 r 5 0 2 0 0 4 2 0 4 1 9 7 0 3 0 6 0 8 0 5 Bt14/2001 6t1t2004 6/30/20040001 - T o t a l C h a r g e s
                                                                                                        i                                                               $ 3 , 6 4 02 0       $3,64020          0
15 8 15 1 . 2 0 0 4 2 0 4 2 1 9 0 4 7 7 4 6 0 5 8t14t2001 7 t1t2oo4 7t31t20040651- H o s p i c e / R o u t i n eH o m e C a r e
1 5 8 1 5 22 0 0 4 2 0 4 2 1 9 0 4 7 7 4 6 0 5 8t14t2001 7 t1r20o4 7 t31t200410657                              - H o s p i c e / P h y s i c r aS
                                                                                                                                                                        $3,761.54            $3,761.54         31i    31
                                                                                                                                                  ne r v i c e s          $ 12 3 . 6 7         $ 12 3 6 7       1.
1 5 8 1 5 3 2 0 0 4 2 0 4 2 1 9 0 4 7 7 4 6 0 5 8t14t2001 7 t1t20o4 7/31/2004                             0001- T o t a l C h a r g e s                                 $3,885.21            $ 3 , 8 8 52 1     0.
1 5 8 1 5 42 0 0 4 2 0 4 2 5 1 0 0 4 4 9 1 0 5 8t14t2001 8t1/2004:8/31/2004i 0651 - H o s p i c e / R o u t i n eH o m e C a r e
                                                                                                                                                                        $3,761.54            $ 3 , 7 6 15 4    31     31
1 5 8 1 5 52 0 0 4 2 0 4 2 5 1 0 0 4 4 9 1 0 5 8114t2001 8t1t2004't8/31/2004I0001 - T o t a l C h a r g e s
                                                                                                                                                                        $3,761.54            $3,761.54          0      0
1 5 8 1 5 62 0 0 4 2 0 4 2 8 1 0 1 7 4 0 9 0 58 t 1 4 t 2 0 0 1 gt1t2004 9/30/2004                        0651- H o s p i c e / R o u t i n eH o m e C a r e            $ 3 , 6 4 02 0       $3,640.20         30     30
1 5 8 1 5 72 0 0 4 2 0 4 2 8 1 0 1 7 4 0 9 0 5 8t14t2001 9t1t2004 9/30/2O04                               0OOl- T o t a l C h a r g e s                                 $ 3 , 6 4 02 0       $3,640.20          0
1 6 2 0 8 6 2 o O 2 2 0 3 0 1 5 0 0 5 5 3 7 0 5 12t17              /2002 12t171200212t3112002             0651- H o s p i c e / R o u t i n eH o m e C a r e            $ 1 , 7 8 14 0       $ 1 , 7 84 10     15     15
1 6 2 0 8 7 2 0 0 2 2 0 3 0 1 5 0 0 5 5 30i 5 12t17t2A02 12t17t200212t31t20O2                             OOO|- T o t a l C h a r g e s                                 s 1, 7 8 14 0        $ 1 , 7 S410      tc     15
1 6 2 0 8 82 0 0 3 2 0 3 0 3 7 0 1 0 1 2 1 0 512t1712002 1t1t2oo3 1 / 3 1 / 2 0 0036 5 1- H o s p i c e / R o u t i n eH o m e C a r e
                                                                                                                                                                        $ 3 , 6 8 15 6       $3.681.s6         3 1.   31
1 G 2 0 8 92 0 0 3 2 0 3 0 3 7 0 1 0 1 2 1 0 512t17t2002 1t1t2oo3'1 / 3 1 / 2 0 0030 0 1- T o l a l C h a r g e s
                                                                                                                                                                        $ 3 , 6 8 15 6       $3,681.56         31.    31
1 6 2 0 9 0 2 0 0 3 2 0 3 0 6 5 0 0 8 3 6 2 0 5 12117              t2002 2t1t2003 2t28t2003.0651                - H o s p i c e / R o u t i n eH o m e C a r e
                                                                                                                                                                        s 3 , 3 22s8         $3,325.28         28,    28
1 6 2 0 9 ' r 2 0 0 3 2 0 3 0 6 5 0 0 8 3 6 2 0 5 12t17            t2002 2t1t2oo3' 2t28t20030001- T o t a l C h a r g e s                                               s 3 , 3 22s8         $ 3 , 3 2 52 8    28     28
1 6 2 0 9 22 0 0 3 2 0 3 1 0 1 0 0 6 6 6 1 0 512t1712002 3t1t2OO33 / 3 1 / 2 0 0036 5 1- H o s p i c e / R o u t i n eH o m e C a r e
                                                                                                                                                                        $ 3 , 6 8 15 6       $ 3 , 6 8 15 6    31     31
16 2 0 9 3 .2 0 0 3 . 2 0 3 10 10 0 6 6 6 10 5 12t17/2002 3t1t2oo3 3/31/2003                              0001- T o t a l C h a r g e s                                 s 3 , 6 8 15 6       $3,681.56         JI     2l
1 6 2 0 9 42 0 0 3 2 0 3 1 2 5 0 0 9 1 0 8 0 512t17                t2002 4t1t2003      . 4/30/20030651- H o s p i c e / R o u t i n eH o m e C a r e                    $ 3 , s 6 28 0       $3,562.80         30
1 6 2 0 S 52 0 0 3 2 0 3 ' 1 2 5 0 0 9 1 0 8 0 12t17          5    t2002 4r1t2003 4/30/20030001- T o t a l C h a r g e s                                                $ 3 , 5 6 28 0       $3,562.80         30
1 6 2 0 9 62 0 0 3 2 0 3 1 6 3 0 0 4 5 7 7 0 512t17/2002 5t1t2003 5/31/2003                               0651- H o s p i c e / R o u t i n eH o m e C a r e            $ 3 . 4 4 40 4       $3,44404          29
1 n 2 0 9 72 0 0 3 2 0 3 1 6 3 0 0 4 5 7 7 0 51 2 t 1t 7            2 0 0 2 5/1t2043 5 i 3 1 1 2 0 0036 5 2 l l o s p i c e / C o n t i n u o u s[ . 1 o r n eC a r e   s 1 1 5 52 0         $ 1 , 1 s 25 0    40
1(t2098 2OCti\203 16300457705 12/17                                t2002 5t1t2003 5 / 3 1 / 2 0 0030 0 1- T o t a l C h a r g e s                                       s 4 , 5 9 92 4       $ 4 , s 9 92 4    69
1 6 2 0 9 92 0 0 3 2 0 3 1 8 8 0 0 9 8 6 7 0 512t17t2002 6t1t2003 6/30/2003'0651                                - H o s p i c e / R o u t i n eH o m e C a r e          $ 2 , 3 7 52 0       $2,375.20         20'
1 6 2 1 0 02 0 0 3 2 0 3 1 8 8 0 0 3 8 6 7 0 512t17t2002 6t1t2oo3 6/30/20030652- H o s p i c e / C o n t i n u o uH                                 s ome Care          $ 6 , 4 9 80 0       $6,49800         225,
1 6 2 r 0 r 2 0 0 3 2 0 3 1 8 8 0 0 9 8 6 7 0 512t17t2002 6t1t2003 6/30/20030657- H o s p i c e / P h y s r c i aS                                nervrces                 $177.77             s177.77          1r
1 6 2 1 0 22 o O 3 2 0 3 1 8 8 0 0 9 8 6 7 0 5 12t17t2002 6t1t2003 6/30/2003                            i0001 - T o t a l C h a r g e s                                 $9,0s0.97            $9,050.97        246
1 6 2 1 0 32 0 0 3 2 0 3 2 1 8 0 0 8 2 8 1 012t17             5    t2002 7 t1t2oo3 7 / 3 1 / 2 0 0 3 ; 016-5H o s p i c e / R o u l i n eH o m e C a r e                $ 3 , 6 8 15 6       $3,681.s6         31'    31
1 6 2 1 0 42 0 0 3 2 0 3 2 1 8 0 0 8 2 8 1 0 512t17t2002 7t1t2oo3 7/31/2003
                                                                                                        .0001 - T o t a l C h a r g e s                                 $3,681.56            $3,681.s6         31.    31
1621052003 20324700851                               4 0 5 12t17t2002 8t1t2003 8/31/2003                  0651- H o s p i c e / R o u t i n eH o m e C a r e            $ 3 , 6 8 15 6       $3,681.56         31     31
1 6 2r 0 6 2 0 0 3 2 0 3 2 4 7 0 0 8 5 1 4 0 512t17                t2002 8t1t2oo3 8/31/20030657- H o s p i c e / P h y s i c i a S               n ervices                   $78 63              s 7 86 3       1      1
16?107 2oO3 20324700851405 12t17t2002 8/1/2003 8/31/2003                                                  0001- T o t a l C h a r g e s                                 $ 3 , 7 6 0 . I1     $ 3 , 7 6 01 I    32
1621 oB 2003 20327 }O325TA5 12t1712002 9/1/2003 9/30/2003                                                 0651- H o s p i c e / R o u t i n eH o m e C a r e            $ 3 , 5 6 28 0       $3,562.80         30
1 6 2 1 0 9 2 0 0 3 ? 0 3 2 7 9 0 3 2 5 2 1 0 5 12t17t2002 gt1t2oo3,9/30/2003                           I0001- T o t a l C h a r g e s                                  $ 3 , s 6 28 0       s3,562.80         30
1 6 2 11 0 2 0 0 3 2 0 3 3 0 8 0 0 6 6 4 1 0 512t17t2002 1ot1t20o3l                     1 0 / 3 1 / 2 0 0036 5 1- H o s p i c e / R o u t i n eH o m e C a r e          $ 3 , 7 6 15 4       $3,761.54         31     31
1 r , 2 1 1 2 0 0 3 2 0 3 3 0 8 0 0 6 6 4 1 0 5t2t 17t2002 1Ot1t2o}3'.                  1 o / 3 1 / 2 0 0030 0 1- T o t a l C h a r g e s                               $ 3 , 7 6 15 4       $ 3 . 7 6 15 4    31     31
1 $ 2 11 2 2 0 0 3 2 0 3 3 3 8 0 0 6 7 9 7 0 512t17                t2002 1 1 t 1 t 2 0 0131 / 3 0 / 2 0 0036 5 1- H o s p i c e / R o u t i n eH o m e C a r e          $ 3 , 6 4 02 0       s3,64020          30
1 6 2 11 3 2 0 0 3 2 0 3 3 3 8 0 0 6 7 9 7 0 51 2 t 1t72 0 0 2 11/1t200311/30/20030001 T o t a lC h a r g e s
                                                                                                                                                                        $3 640 20            $ 3 , 6 4 02 0    30
1 6 2 11 4 2 0 0 3 2 0 4 0 0 5 0 0 5 8 6 6 0 512117                t2002 12t1t200312t31t20030651- H o s p i c e / R o u t r n eH o m e C a r e                          $ 3 , 7 6 15 4       $3,761.54         3'l    31
1 0 2I ' , rs 2 0 0 3 2 0 4 0 0 5 0 0 5 8 6 6 0 5 12t17t2002 12t1t2OO3                   12t31t2o}3t      OOO|- T o t a l C h a r g e s                                 $ 3 , 7 6 15 4       $3,761.54         3 1'   ?l
1 6 2 11 6 2 0 0 4 2 0 4 0 3 5 0 2 2 9 3 7 0 512t11t2002 1t1t2004 1t31t2004
                                                                                                         t0651- H o s p i c e / R o u t i n el l o m e C a r e          $ 3 , 7 6 15 4       $3,761.54         3'l    31
1 r , ?1 1 ; ? O O 42 0 4 0 3 5 0 2 2 9 3 7 0 51 2 1 1t 2           7 0 0 2 1t1t2004 1 / 3 1 / 2 0 0040 0 1- T o t a l C h a r g e s                                    $ 3 , 7 6 15 4       s 3 , 7 6 15 4    31     31
1 6 2 11 8 2 0 0 4 2 0 4 0 6 4 0 1 6 2 8 2 0 5 12t17               t2002 2t1t2004 2t29t20040651- H o s p i c e / R o u t i n eH o m e C a r e                           $ 3 , s 1 88 6       $ 3 , 518 8 6     29
1 6 2 1 ' 1 92 0 0 4 2 0 4 0 6 4 0 1 6 2 8 2 0 51 2 t 1 7 t 2 0 0 2 2t1t2oo4 2/29r2OO4                    oOOl- T o t a l C h a r g e s                                 $ 3 , s 1 88 6       $ 3 , 5 18 6      29
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1621282004 2 0 419 7 0 3 0 4 7 3 0 5 12t17t2002 611t20046/30/20040651- H o s p i c e / R o u t i n eH o m e C a r e
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162129.2004              2 0 419 7 0 3 0 4 7 3 0 5 12t17t2002                  611t2004 6/30/20040001- T o t a l C h a r g e s                                                  $3,640.20        $3,640.20            0                                                              0
162130         2 0 0 42 0 4 219 0 4 7 5 9 4 0 5 12t17t2002 7 t1t2OO47t31t2oo40651- H o s p i c e / R o u t i n eH o m e C a r e
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162.131        2004 20421904759405 12t17t2002 7t1t2oo4 7t31t2o}4oOOl- T o t a l C h a r g e s
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1621322004 2 0 4 2 5 3 0 15 5 2 6 0 5 12t17t2002 8t1t2oo4l8/31/2004                                     0651- H o s p i c € / R o u t i n eH o m e C a r e
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1G2134         20()4'20428101726905 12t17                         /2002 911t20049/30/2004               0651- H o s p i c e / R o u t i n el - l o n r eC a r e                 $ 3 . 6 4 02 0   $ 3 , 6 4 02 0     30                                                              30
162135         2 0 0 42 0 4 2 8 10 17 2 6 9 0 5 12t17t2002 9t1t2004 9/30/2004                           0001- T o t a l C h a r g e s                                           $3,640.20        $3,640.20            0
169291         2 0 0 220207 100452905 2t23t2002 2t23t2oo2t.                                    2t28t2oo2p651 - H o s p i c c / R o u t i n eH o m e C a r e                        $347.43         s347.43            3
1692522002 2 0 2 0 71 0 0 4 5 2 9 0 5 2t23t2002 2t23t2002 2t28t20020656- H o s p i c e / G e n e r aIln p a t i e n tC a r e ( N o n - r e s p i t e )
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169293         2 0 0 220207100452905 2r23t2002 2r23t2oO2'2t28t20020657 - H o s p i c e / P h y s r c t aSne r v i c e s
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1692942002 20207 100452905 2t23t2002 2t23t2002'2t28t2002i,0657                                                   - H o s p i c e / P h y s r c r aSne r v i c e s
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169295         2 0 0 220207 100452905 2t23t2002 2t23t2oO2 2t2812002iO657                                        - H o s p i c e / P h y s i c i aS   nervices                        $ 7 01 1        $ 7 01 1          1
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1692972002 20207 100452905 2t23t2002 2t23t2oO22t28t2oO2l,OOO1                                                   - T o t a lC h a r g e s
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169298         2 0 0 22 0 2 0 9 4 0 01 7 7 3 0 5 2123t2002 3t1t2002 3/31/2002                                   -
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169300         2 0 0 2 2 0 2 1 3 71 6 1 7 3 1 0 4 2/23t2002 4t1t2002 4t26t20020651 - H o s p i c e / R o u t i n eH o m e C a r e                                               $3,011.06        $ 3 , 0 1 01 6     26
169301         2 0 0 22 0 2 1 3 71 6 1 7 3 1 0 4 2t23t2002 4 t 1 t 2 o o 2 4t26t2002oool - T o t a l C h a r g e s                                                              $ 3 , 0 1 10 6   $ 3 , 0 1 01 6       0
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169303         2 0 0 22 0 216 4 0 0 5 47 9 0 5                51912002 5/9t20Q2 5 / 31/ 2 0 0 2, 0 6 5 7 H o s p r c e / P h y s i c i aSr re r v i c e s                          $ 1 3 80 4      $ 1 3 89 4          1                                                            1
169304         2 0 0 22 0 2 16 4 0 0 5 4 7 9 0 5 5/9t2002 5tgt2002'5/31/2002                            0001- T o t a l C h a r g e s                                           s2,802 57        $2,802s7           24                                                             24
163305         2 0 0 220218600724105 5t9t2002 6 t 1 t 2 O O 26/30/20020651- H o s p i c e / R o u t r n H                                       e ome Care                      s 3 , 4 7 43 0   $ 3 , 4 7 43 0     30
169306         2 0 0 22O2186007241]it                         5t9t2002 6t1t2002 6/30i20020001- T o t a l C h a r g e s                                                          $ 3 , 4 7 43 0   $ 3 , 4 7 43 0     30
169307         2 0 0 220221701054505 5t9t2002 1t1t2002 7t31t20020651- H o s p i c e / R o u t i n eH o m e C a r e
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169308         2 O O 220221701094505 5t9t2002 7t 1 t 2 o o 2 7t31t2002oool - T o t a l C h a r g e s
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169309         2 0 0 22 0 3 0 2 8 1 0 5 7 4 1 0 4 5t9t2002 8t1t2002i 8/16/2002                                  -
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1 6 9 3 1 20 0 0 22 0 3 0 2 8 10 5 7 4 ' 10 4                 5t9t2002 8t1t2002                         0657- H o s p i c e / P h y s r c r aSne r v r c e s
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1 6 9 311 2 0 0 22 0 3 0 2 8 1 0 5 7 4 1 0 4 5t9t2002 8 t 1 r 2 Q 0 28t16t20020657- H o s p i c e / P h y s i c i aS                                 n ervices                     s.146.2S        s 1 4 62 9          1
1 6 9 3 1 2 0 0 22 0 3 0 2 8 1 0 5 7 4 1 0 4 5t9t2002 811t2002 8/16/2002                                        -
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163312         3 0 0 22 0 2 27 6 0 0 710 3 0 5 9t13120Q2gt13t2002 9/30/20020651- H o s p i c e / R o u t i n el l o m e C a r e
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169314         2 0 0 2202276007 10305 9t13t2002 9t13r2002 9t30t2OO2't0657                                       - H o s p i s g / P h y s i c t aS    ne r v i c e s                                                   ,l
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1 6 9 3 1 25 0 0 2202?76007 10305 9t13r2002 9t13t2002 9/30/20020001- T o t a l C h a r g e s
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1 6 9 3 1260 0 22 0 2 3 10 0 0 9 8 6 9 0 5 9t13t2002 1 O t 1 t 2 0 o10t3112002                2         0651- H o s p i c e / R o u t i n eH o n r e C a r e                    $ 3 , s 6 28 0   $ 3 . 5 6 28 0     30
1 6 ! ) 3 1270 0 22 0 2 310 0 0 9 8 6 9 0 I r 9/1,\t2002 10/1t200?'to/31t20020656- H o s p i c e / G e n e r Ianl p a l r e nCt a r e ( N o r rr o s p r t e )
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169320         2 0 0 22 0 2 3 3 9 010 6 3 3 0 5 st13t2002 11t1t2o}2'                         11t30t20020651- H o s p i c e / R o u t i n eH o m e C a r e                       $ 3 . 5 6 28 0   $3,s62.80          30
169321         2 0 0 22 0 2 3 3 9 0 10 6 3 3 0 5 9t13r2002 11t1t200211t30t2002t.,0001                           - TotalCharges
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r 6 9 3 2 32 0 0 22 0 3 0 0 6 0 0 9 8 2015 9t13t2002 12/1t200712t31t2002.0001                                   ' TolalClrarges
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169322         4 0 0 32 0 3 0 3 7 0 01 3 6 5 0 5 9t13/2002 1t1/2003 1t31t20030651- H o s p i c e / R o u t i n eH o m e C a r e
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r 6 9 3 2 52 0 0 32 0 3 0 3 7 010 3 6 5 0 5 9t13t2002 1 t 1 t 2 0 0 31. / 3 1 / 2 0 0030 0 1- T o t a l C h a r g e s
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169326         2 0 0 32 0 3 0 6 5 0 0 8 619 0 5 9r13/2002 2t1t2003 ?t28t20030651- H o s p i c e / R o u t i n eH o m e C a r e                                                  $ 3 . 3 2 52 8   $3,32s.28          28                                                             28
1 6 9 3 2 /2 0 0 32 0 3 0 6 5 0 0 8 61S 0 5 9113t2002 2t1t2003 2t28t20030001- T o t a l C h a r g e s
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16 9 3 2 82 0 0 32 0 3 0 0 3 0 0 ! G           ) 14 0 s 9t11t200? 3t1/2003 3 / 3 1 / 2 0 0036 5 1- t l o s p i c e i R o r . r l i nf ol o m e
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1 6 9 3 3 92 0 0 3 2 0 3 2 1 8 0 0 8 5 3 8 0 5 gt13/2AO2 7 1 1 1 2 Q 0 31 1 3 1 1 2 0 0 3 . 0 6 5-7H o s p r c e i P h y s i c i a S                                     n ervices                                                                                   ,l
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1 6 9 3 4 32 0 0 3 ' 2 0 3 2 2 9 0 3 2 2 9 6 0 5 9r13t2002' 9 1 1 1 2 0 0 3 9 / 3 0 / 2 0 0 3 0 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e
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1 G 9 3 4 42 0 0 3 2 0 3 2 7 9 0 3 2 7 9 6 0 s 9t13t2002 9 1 1 1 2 0 0 3 9 / 3 0 / 2 0 0 3 0 0 0 1 - T o t a l C h a r g e s
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1 6 9 3 5 52 0 0 4 2 0 4 0 6 5 0 1 6 9 6 0 0 5 9t13t2002 2 1 1 l 2 O O 4 2 t 2 g l 2 } O 4 0 6 5 1 - H o s p r c e t R J u t r n H                                   e ome Care                                         $ 3 , 3 9 75 2       $ 3 , 3 9 75 2     28
1 6 9 3 5 6 2 0 0 4 2 0 4 0 6 5 0 1 6 9 6 0 0 5 9t13t2002 2 1 1 l 2 O O 4 2 / 2 9 / 2 0 0 4 1 0 6 5 6                                 - H o s p i c e / G e n e r aIln p a t i e n tC a r e ( N o n - r e s p i t e )
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1 6 9 3 5 7 2 0 0 4 2 0 4 0 6 5 0 1 6 9 6 0 0 5 gt13t2oo2 2t1l2OO4 2l2gl2}O4'p657 - Hospice/PhysicianServices
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1 6 9 3 5 82 0 0 4 2 0 4 0 6 5 0 1 6 9 6 0 0 5 9t13t2002 2 1 1 l 2 O O 4 2                               . .l 2 9 l 2 O O .4O 0 O 1- T o t a l C h a r g e s                                                            $4,.101.23           $4,101.23          30
1 6 9 3 5 9 2 0 0 4 2 0 4 0 9 7 0 0 9 2 6 3 0 5 st13t20o2t,3 1 1 1 2 0 0 4 3 1 3 1 1 2 0 0 4                                 0 6 5 1 - H o s p i c e / R o u t r nH  e ome Care                                         $2,912.16            $ 2 , 9 12 . 1 6   24t.      24
1 6 9 3 6 02 0 0 4 . 2 0 4 0 9 7 0 0 9 2 6 3 0 5g t 1 3 t 2 o o 2 ,3 1 1 1 2 0 0 4 ,3 / 3 1 / 2 0 0 4 0 6 5 6 - H o s p i c e / G e n e r aIln p a t i e n tC a r e ( N o n - r e s p i t e )
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1 6 9 3 6 1 2 0 0 4 2 0 4 0 9 7 0 0 9 2 6 3 0 5 9t13t2002 31112004 3131120040657 - Hospice/physician Services
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1 6 9 3 6 2 2 0 0 4 . 2 0 4 0 9 7 0 0 9 2 6 3 0 5 9t13t2002 3 1 1 l 2 O O 4 3 / 3 1 / 2 0 0 4 0 6 5 7 - H o s p i c e / P h y s i c i a S                                n ervices                                         $16604               $16604            z
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1 6 9 3 6 4 2 0 0 4 2 0 4 1 2 5 0 0 8 '1l 3 0 5 gt13t2oo2 4 1 1 1 2 0 0 4 4 l 3 O l 2 O O 40 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e
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1 6 9 3 6 52 0 0 4 2 0 4 1 2 5 0 0 8113 0 5 gt13t20o2 41112004 4130120040001 - Totat Charoes
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1 6 9 3 6 62 0 0 4 2 0 4 1 5 5 0 0 8 7 6 6 0 5 9 l 1 3 l 2 O O 2 l5 1 1 l 2 O O 45: / 3 1 / 2 0 0 4 0 6 5 1 - H o s p i c e / R J u t i n eH o m e C a r e
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1( i 9 3 6 7 2 0 0 4 2 0 4 I 5 5 0 0 8 7 6 6 0 5 9t13/2002 5 1 1 l 2 O O 4 5 1 3 1 l 2 O O 04 6 5 2 - H o s p i c e / C o n t i n u o uH                                    s ome Care                                  $ 1. 6 8 2 0 7       $ 1 , 6 8 20 7     57        )l
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1 6 9 3 7 2 2 0 0 4 2 0 4 2 1 9 0 4 7 9 4 2 0 5 9t13/2002 7 1 1 / 2 0 0 4 7 1 3 1 1 2 0 0 4                                 0 6 5 6 - H o s p i c e / G e n e r aIln p a t i e n tC a r e ( N o n r e s p i t e )       $ 5 , 3 8 80 0       $ s , 3 8 80 0     10        10
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4 t ) 3 0 32 0 ( ) 12 0 11 8 7 1 6 3 0 0 1 0 4 2t1t2001 21112001
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4 t ) 3 2 2? 0 0 1 2 0 1 3 0 9 0 0 7 2 1 6 0 5 2t1t2001 10t1t2001             1 0 1 3 1 1 2 O O010 0 1 - T o t a l C h a r g e s                               $ 3 , 5 9 01 1    $3,590.11          .1 I
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40325 2001 20200400762005                         2t1t2001 12t1t20011 2 1 3 1 1 2 0 0 01 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                  $ 3 , 5 S 01 1    $ 3 , 5 9 01 1     31         31
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40328 2002 20203600914205                         2t1t2001 1t1t2002 1 1 3 1 1 2 0 0 20 0 0 1 - T o t a l C h a r g e s
40329 2002. 20206400699405
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4 0 3 3 0 2 0 0 2 2 0 2 0 6 4 0 0 6 9 9 4 0 5 2t1t2001 2t1t2002 2128120020001 - Totat Charges
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4 0 3 3 1 2 0 0 2 2 0 2 0 9 4 0 1 0 6 2 8 0 5 2t1t2001 3t1t2002 3 / 3 1 / 2 0 0 2 0 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e
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40332 2002 20209401062805                         2t112001 3t1t2002 3 / 3 1 / 2 0 0 2 0 0 0 1 - T o t a t C h a r g e s                                        $ 3 , 5 9 01 1    s 3 , 5 9 01 1     31         31
40333 2002 202123007 89205                        2t1t2001 4t1t2002 4 1 3 0 1 2 0 0 20 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                    $ 3 , 4 7 43 0    $ 3 , 4 7 43 0     30
40334 2002 202123007 89205                        2t1t2001 4t1t2002 4 / 3 0 / 2 0 0 2 0 0 0 1 - T o t a l C h a r g e s                                        s 3 , 4 7 43 0    $ 3 , 47 4 . 3 0   30
4 0 3 3 5 2 o O 2 2 0 2 15 6 0 0 6 13 5 0 5       2t1t2001 5t1t2002 5 1 3 1 1 2 0 0 20 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e                    $ 3 , 5 9 01 1    $ 3 , 5 9 01 1     31          31
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40340 2002 20221701078605                         2t1t2001  . 7t1t2002 7 1 3 1 1 2 0 0 20 0 0 1 - T o t a t C h a r g e s                                      $ 3 , 5 9 01 1    $3,590.1           a1
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40341 2002 2022480141 1805                        2t1t2001  . 8t1t2002 8 1 3 1 1 2 0 0 2 . 0 6 5-1H o s p i c e / R o u t i n eH o m e C a r e                 $ 3 , 5 9 011     s3,590.11          31'         31
40342 2002 2022480141 1 805                       2t1t2001 8t1t2002 8 1 3 1 l 2 O O. 20 O O 1- T o t a t C h a r g e s                                         5 3 , 5 9 01 1    $3,590.1           31          31
40343 2.002 20227600721905                        2t1/2001 9t1t2002 9 1 3 0 1 2 0 0 20 6 5 1 , H o s p i c e / R o u l i n eH o m e C a r e                    $3 474 30         $ 3 , 4 7 43 0     30
40344 2002 20227600721905                         2t1/2001 9t1t2002 9 l 3 0 l 2 0 O Z0 0 0 1 - T o t a l C h a r g e s                                         $ 3 , 4 7 43 0    $ 3 , 4 7 43 0     30.
4 4 3 4 5 2 0 0 2 2 0 2 3 1 0 0 0 9 6 8 6 0 5 2t1t2001 10t1t2002              1 0 1 3 1 1 2 0 0 02 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e        $ 3 , 6 8 1s 6    $ 3 , 6 8 15 6     JI
4 0 3 4 6 2 0 0 2 2 0 2 3 1 0 0 0 9 6 8 6 0 5 2t112001 1011t2002              1 0 / 3 1 / 2 0 0 20 0 0 1 - T o t a lC h a r g e s                              $ 3 , 6 8 1s 6    $3,681.56          JI
4 0 3 4 7 2 0 0 2 . 2 0 2 3 3 9 0 10 4 5 0 0 s    2t1t2001 1111t2002          1 1 1 3 0 1 2 0 0 02 6 5 1 - H o s p i c e / R o u t i n eH o m e C a r e        $ 3 , 5 6 28 0    $3,562.80          30
4 0 3 4 8 2 0 0 2 2 0 2 3 3 9 0 10 4 5 0 0 5      2t1t2001 11t1t20021 1 1 3 0 1 2 0 0 02 0 0 1 - T o t a l C h a r g e s                                       $ 3 , 5 6 28 0    $ 3 , 5 6 28 0     30
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4 0 3 5 7 . 2 0 0 3. 2 0 3 0 9 9 0 0 6417 0 5             2t1t2001 3t1t2003 3 / 3 1 / 2 0 0 3 0 0 0 1 - T o t a l C h a r g e s                                                                         $ 3 , 6 8 15 6      $3,681.56                  31
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4 0 3 6 9 . 2 0 0 32 0 3 2 7 9 0 3 2 5 9 1 0 s 2t1t2OO1 St1t2o}3 9 / 3 0 / 2 0 0 3 0 6 5 1 - H o s p i c e / R J u t r n tel o m e C a r e
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4 0 3 7 1 2 0 0 3 2 0 3 3 0 8 0 0 6 7 1 0 0 5 2t1t2001 1ot1t2oo3:                         1 0 1 3 1 1 2 0 0 03 6 5 1 - H o s o i c e / R o u t i n e Home Care                                          s3.761.54           $3,76'1.54          31,    31
4 0 3 7 2 2 0 0 3 2 0 3 3 0 8 0 0 6 7 1 0 0 s 2t1t2001 1ot1t20o3                          1 0 / 3 1 / 2 0 0 30 0 0 1 - T o t a l C h a r g e s                                                          s 3 , 7 6 15 4      $3,761.s4           3 1l   31
4 0 3 7 3 2 0 0 3 2 0 : 1 3 : 1 8 0 0 6 8 7 4 0 52t1t2(\A1 11t1 t20031 1 / 3 0 / 2 0 0 30 6 5 1 - H o s p i c e / R o u l i nHeo n t cC a r e
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4037B 2004 20404002088405                                 2t1t2001 1t1t2004 1 1 3 1 1 2 0 0 04 6 5 2 - H o s p i c e / C o n l i n u o uH                    s ome Care                                    $94432             $944.32           32'    JZ
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4 0 3 8 0 2 0 0 4 2 0 4 0 8 5 0 9 1 5 1 6 0 4 2t1t2001 2t1t2004 212912O04i.0651                                       - Hospice/RoutineHome Care                                                        s2,669.48           $2,669.48           22      22
4 0 3 8 1 2 0 0 4 2 0 4 0 8 5 0 9 1 5 1 6 0 4 2t1t2001 2t1t2004:2129120040652 - Hospice/ConlinuousHome Care
                                                                                                                                                                                                        s4,48552            $4,485.52          152     152
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4 0 3 9 5 2 0 0 4 2 0 4 1 9 7 0 3 1. 17 9 0 5             2t1t2OO1 6/1t2oo4 6 1 3 0 1 2 0 0 40 6 5 6 - H o s p i c e / G e n e r aIln p a t r e n C                   t a r e ( N o n r e s p i l e)    $ 7 . 5 4 32 0      s 7 . s 4 32 0      14
4 0 3 9 6 2 0 0 4 2 0 4 1 9 7 0 3117 9 0 5                2t1t2001 6t1t2004 6 / 3 0 / 2 0 0 4 0 6 5 7 - H o s p r c e / P h y s i c i aSne r v i c . e s                                                   $ 11 9 . 1 2       $119.12            1           1
4 0 3 9 7 2 0 0 4 2 0 4 19 7 0 3 117 9 0 5                2t1t2001 6t1t2004 6/30/2004 0657 - Hospice/PhysicianServrces                                                                                     $ 1 4 03 2         $ 14 0 . 3 2       4           4
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4 0 4 0 4 2 0 0 4 2 0 4 2 3 6 i 1 9 3 8 2 9 0 4 2/1t2001 7 t1t2004 7r31t20040652- H o s p r c e / C o n l i n u o H                                                                            u so m e C a r e                  $ 5 , 9 9 05 3      $ 5 , 9 9 05 3     203       203
4 0 4 0 5 2 0 0 4 2 0 4 2 3 6 0 9 3 8 2 9 0 4 2/1t2001 7/1/2004 7t31t20040657- H o s p i c e / P h y s r c i aS                                                                            ne r v i c e s                             $74.59              $74.59          1         1
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4 0 4 0 7 2 0 0 4 2 0 4 2 3 6 0 9 3 8 2 9 0 4 2t1t2001 711t20047t31t2oj4 oOOl- T o t a l C h a r g e s
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40409 2004 2042.530                            15 5 3 3 0 5                2t1t2001 Br1t2oo48t31t2o}40652- H o s p i c e / C o n t i n u o uH                                                  s ome Care                        $ 3 , 12 8 0 6      $ 3 , 1 2 80 6     106
4 0 41 0 ? 0 0 4 ) 0 4 , ' ! , : \ O1 t . , 5 3 3 ( ) 5 2tI t7001 811t2004B / 3 1 / 2 0 0046 5 7. H o s p i c e / l l l y s r c l aSr ro r v t c e s
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4 0 4 1 2 2 0 0 4 2 0 4 2 8 1 0 1 7 3 4 5 0 5 2t1t2001 9t1t2004 9/30/2004                                                       i 0651- H o s p i c e / R o u t i n eH o m e C a r e
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51339 2002 20230216202804 9t14t2002 gt14t2oo2',                                                                  9/30/2002        0651- H o s p i c e / R o u t i n eH o m e C a r e                                                                                     .t f;,
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51 340 2002 2023021 6202804 9114t20029t14t2002 9t30t20020652- H o s p i c e / C o n t i n u o uH                                                                                               s ome Care                           $647.68            $647 68           ZJ
5 1 3 4 1 2 0 0 2 2 0 2 3 0 2 1 6 2 0 2 8 0 4 911412002g t 1 4 t 2 o o 29/30/2002                                 '               0657- H o s p i c e / P h y s i c i a S                 n ervices                                                                       ,l        ,|
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5 1j42 2OO2 2023C12162O2804 9t14t2002 gt14r20o2 9/30/2002                                                                         0001- T o t a l C h a r g e s                                                                  $ 2 , 5 2 37 7      $ 2 , 5 2 37 7      36        36
5 1 3 4 3 ? - O O 22 0 2 3 10 0 0 9 7 8 8 0 5 9t14t?O02 10t1t2002                                              1 0 / 3 1 / 2 0 0026 5 1- H o s p i c e / R o u t i n eH o m e C a r e                                            $ 3 , 6 8 15 6      $ 3 , 6 8 15 6      31        31
! t 1- \ 4 4 2 O O 2 2 0 2 310 0 0 9 7 8 B 0 5 9t14t2002 10t112002                                             1 0 / 3 1 / 2 0 0020 0 1- T o t a lC h a r g e s                                                                  $ 3 , 6 8 15 6      $ 3 , 6 8 1s 6      3r        31
5 1 3 4 5 2 0 0 2 2 0 3 18 3 17 0 5 0 4 0 4 9t14t2002 1 1 t t12 o o 2 11t3ot2oo2                                                  0651- H o s p i c e / R o u t i n eH o m e C a r e                                             $ 3 , 5 6 28 0      $3,562.80           30        30
5 1 3 4 6 ? 0 0 2 2 0 3 1B 3 ' l7 0 5 0 4 0 4 9t14t2002 1 1t11200211t30t2002                                                      0657- H o s p i c e / P h y s i c r aSn e r v i c e s                                               $46 32              $46 32          1         1
5 1 3 4 7 2 0 0 2 2 0 3 1 8 3 1 7 0 5 0 4 0 4 gt14t20o2 11t1t200211t30t2002                                                       0657- H o s p i c e / P h y s i c i a S                 n ervrces                                     $9 81               $9 81         1         1
    l . r n l l: ) 0 0 . ': ) ol l l t \ l i f ) 5 { ) 4 { ) . 1,.114ti,ol)") 1 | t 1 t ? o o 21 1 / 3 O | 2 O OQ                 ? 6 5r - I 1 o . , I r r . n / t ' l t y : , r rr , t n l , c r ; t r r ' .
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5 13 5 0 2 0 0 2 2 0 3 1 8 3 1 7 0 5 0 4 0 4 9 t 1 4 t 2 0 0 2 1111t2002                                       11 / 3 0 / 2 0 0 2O 0 O 1- T o t a l C h a r g e s                                                                $ 3 , 9 0 04 9      $ 3 , 9 0 04 9         0       0
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5 1 3 5 2 . 2 0 0 22 0 3 0 0 6 0 0 9 7 4 1 0 5 9 t 1 4 t 2 0 0 2 1 2 t 1 t 2 o \ 212t31t2002 0001 - T o t a l C h a r g e s
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5 1 3 5 3 2 0 0 3 2 0 3 0 3 7 0 1 0 2 9 3 0 5 9t1412002 1t1t2003 1 / 3 1 / 2 0 0036 5 1- H o s p i c e / R o u t i n eH o m e C a r e
5 1 . t 5 42 0 0 3 2 0 3 0 3 7 0 1 0 2 9 3 0 5 9t14t2002
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                                                                                                1t1t2003 1 / 3 1 / 2 0 0030 0 1- T o t a l C h a r g e s                                                                         $ 3 , 6 8 15 6      $ 3 , 6 8 15 6      .1 |      31
5 l 3 i r 5 2 0 0 3 2 0 3 0 6 5 0 0 8 5 3 7 0 5 9 t 1 4 t 2 0 0 2 2t1t2003 2t28t20030651- H o s p i c e / R o u t i n eH o m e C a r e
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5 1 3 5 6 2 0 0 3 2 0 3 0 6 5 0 0 8 5 3 7 0 5 9 t 1 4 t 2 0 0 2 2t1t2003 2t28t20030656^ H o s p i c e / G e n e r aIln p a t r e n C                                                                       t are (Non-respite)   $1,053.80           $ 1 , 0 s 38 0       t         z
5 1 3 5 7 2 0 0 3 2 0 3 0 6 5 0 0 8 5 3 7 0 5 g t 1 4 t 2 o o 2 2t112003.                                        2t28t2oo30657- H o s p r c e / P h y s i c r aSne r v t c e s                                                      $ 1 6 01 4          $160.14               1     1
5 1 3 5 8 2 0 0 3 2 0 3 0 6 5 0 0 8 5 3 7 0 5 9 t 1 4 t 2 0 0 2 2t1t2003 2128t20030657- H o s p i c e / P h y s r c r aSne r v i c e s
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5 1 3 5 9 2 0 0 3 2 0 3 0 6 5 0 0 8 5 3 7 0 5 9 t 1 4 t 2 0 0 2 2t1t2003 2t28t2oo3oool - T o t a l C h a r g e s
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5 1 3 6 0 2 0 0 3 2 0 3 0 9 3 0 0 9 0 9 2 0 5 9t14t20Q2                                         3t1t2003.3/31/2003                0651- H o s p i c e / R o u t t n eH o m e C a r e                                             $ 3 , 3 2 52 8      $3,325.28          2B         28
5 1 3 6 1 2 0 0 3 2 0 3 0 9 3 0 0 9 0 9 2 0 5 g t 1 4 t 2 0 o 2 3t1t2003 3/31/2003                                                0656- H o s p i c e / G e n e r aIln p a t i e n tC a r e ( N o n - r e s p i t e )            $1,580.70           $ 1 , 5 8 07 0      3
i , 1 3 6 22 0 0 3 2 0 3 0 9 3 0 0 9 0 9 2 0 5 g / 1 4 / 2 0 0 2 3t1t2003 3/31/2003                                               0657 H o s p r c e / P h y s i c r aSne r v r c e s
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5 1 3 6 5 2 0 0 3 2 0 3 0 9 3 0 0 1 0 9 2 0 5 9 t 1 4 t 2 0 0 2 3t1t2003 3/31/2003                                                000'1- T o t a l C h a r g e s                                                                 s 5 , 4 4 s3 5      $5,445.3s          J(
s 1 3 6 6 2 0 0 3 2 0 3 1 2 5 0 0 S 2 8 6 0 5 g t 1 4 t 2 o o 2 4 t 1 t 2 o o 34/30/2003                         '                0651- H o s p i c e / R o u t i n eH o m e C a r e                                             $3,562.80           $3,562.80          30
5 1 3 6 7 2 0 0 3 2 0 3 1 2 5 0 0 S 2 8 6 0 5 9 t 1 4 t 2 0 0 2 4t1t2003 4/30/2003                                                0oO1- T o t a l C h a r g e s                                                                  $ 3 ,s 6 2 . 8 0    $3,s6280           30
5 1 3 6 8 2 0 0 3 2 0 3 1 5 7 0 0 3 3 9 0 0 5 g t 1 4 t 2 o o ? 5t1t2OO35 / 3 1 / 2 0 0036 5 1' H o s p i c e / R o L r t ilnl oem e C a r o
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1 )l i l ( ) 9 2 0 0 : l 2 0 . i i l ) 7 0 0 ! r . i ! J 0 0 5 9 t 1 4 t 2 0 0 2 5t1t2003 5 / 3 1 / 2 0 0030 0 1- T o t a lC h a r g e s
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5 13 7 0 2 0 0 3 2 0 3 1 8 8 0 1 0 0 2 9 0 5 9 t 1 4 t 2 0 0 2 6t1t2oo3 6/30/2003'0651                                                     - H o s p i c e / R o u t i n eH o m e C a r e
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5 1 3 7 1 2 0 0 3 2 0 3 1 8 8 0 1 0 0 2 9 0 5 9t14t2002                                         6t1t2003 6/30/2003                0001- T o t a l C h a r g e s                                                                  $ 3 , 5 6820        $3,56280           30
; t 1 3 72 2 O 0 3 2 0 3 2 18 0 0 8 4 6 2 0 5 9t14t2002                                         7 t1t2oo3 7/31/2003               0651- H o s p i c e / R o u t i n el 1 o m e C a r e                                           $ 3 , 6 8 15 6      $ 3 , 6 8 15 6     31         31
5 1 3 7 3 2 0 0 3 2 0 3 2 1 8 0 0 8 4 6 2 0 5 9 t 1 4 t 2 0 0 2 7 t1t2oo3 7/31/2003                                               0001- T o t a l C h a r g e s                                                                  $ 3 . 6 8 1s 6      $ 3 . 6 8 15 6     JI         31
5 1 3 7 4 2 0 0 3 2 0 3 2 4 7 0 0 8 7 0 9 0 5 9 t 1 4 t 2 0 0 2 8t1t2003 8 / 3 1 / 2 0 0036 5 1. H o s p i c e / R o r i t i nHeo m e C a r e
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                                                                                                                 0656 f . l o s p i c e / G e n e r aI nl p a l r c r rC      l are(Non resptte)                        $526 90           1        1
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5 1 3 7 92 0 0 3 20327903271705 9t14t2002                                      9t1120039/30/20030001 T o t a l C h a r g e s                                                                       s 4 , 1 3 12 2     $4,132.12         JI        11
5 13 8 0 2 0 0 3 2 0 3 3 0 8 0 0 6 8 3 0 0 5 9t14t2002 10t1 t2oo3t 10/31/2003 0651 H o s p i c e / R o u t i n eH o m e C a r e
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5 1 3 8 32 0 0 3 2 0 3 3 3 8 0 0 6 9 9 8 0 5 9il4t2002 11t1t200311/30/2003                                       0657 H o s p i c e / P h y s i c i a S      n ervices                               $ 1 7 77 7         $177.77          1         1
5 1 3 8 42 0 0 3 2 0 3 3 3 8 0 0 6 9 S 8 0 5 9 t 1 4 t 2 0 0 2 11I 1t20O311/30/2003
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5 1 3 8 62 0 0 3 . 2 0 4 2 3 G 0 9 5 01004 9 / 1 4 t ? 0 0 2 1?.t                 1t200312l31/2003               0657 H o s p i c e / P h y s i c i a S      n crvrces                               $ 1 4 75 0         $ 1 4 75 0       1         1
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